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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


ANGELO JOHNSON,

                                                    Plaintiff,

                         -against-                                          20-CV-0622

BOULE, et al.,                                                               LEK/ATB

                                              Defendants.



             MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
                   MOTION FOR SUMMARY JUDGMENT


                                                  LETITIA JAMES
                                                  Attorney General of the State of New York
                                                  Attorney for Defendants
                                                  The Capitol
                                                  Albany, New York 12224

Jonathan S. Reiner
Assistant Attorney General, of Counsel
Bar Roll No. 702645
Telephone: (518) 776-2641
Fax: (518) 915-7738 (Not for service of papers)


Date: December 2, 2021
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                                PRELIMINARY STATEMENT

       In April 2020, Plaintiff commenced this action in the United States District Court for the

Southern District of New York against twenty-five defendants. Dkt. 2 (“Compl.”). The Southern

District severed and transferred twenty-two of those defendants to this Court.1 Dkt. 6. This Court

severed three more defendants whose alleged conduct occurred at Five Points Correctional Facility

and transferred them to the United States District Court for the Western District of New York.2

Dkt. 8. The claims still pending before this Court—all of which relate to conduct that allegedly

occurred at Great Meadow Correctional Facility (“Great Meadow”)—are as follows:

       1)      Defendant Marcia Rocque was deliberately indifferent to plaintiff’s medical care

               on October 29, 2018 by taking away Plaintiff’s migraine medication. See Compl.

               ¶¶45–46.

       2)      The following defendants were deliberately indifferent to Plaintiff’s medical needs

               by failing to treat his ailments:

               a. Defendant Eric Goe on November 1, 2018. See Compl. ¶¶ 47–50.

               b. Defendant Ted Nesmith on November 16 and 21, 2018. See Compl. ¶¶ 51, 53.

               c. Defendants Goe and David Karandy on December 5, 2018 through February

                   19, 2019. See Compl. ¶¶ 54–56.

               d. Defendant Goe on May 17, 2019. See Compl. ¶ 72.

               e. Defendants Goe and Karandy in July 2019. See Compl. ¶ 138.

       3)      The following defendants were deliberately indifferent to Plaintiff’s medical needs


       1
         The Southern District retained jurisdiction over the claims related to three defendants,
and plaintiff is actively litigating that matter. See generally, Johnson v. Brown, 20-cv-03280-
KMK/JCM (S.D.N.Y.)
       2
         Plaintiff is actively litigating those claims in the Western District. See generally, Johnson
v. Perez, et al., 20-cv-06551-FPG (W.D.N.Y.).
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              by not rectifying issues about which Plaintiff complained:

              a. Mary Tandy-Walters on December 14, 2018. See Compl. ¶¶ 68, 65[2]–66[2].3

              b. John Morley on February 5, 2019. See Compl. ¶¶ 67[2]–68[2].

       4)     On June 17, 2019, defendants Preston Boule, Nathaniel Gilles, Daniel Papa, and

              Eric Rich—along with three John/Jane Doe defendants—threw plaintiff on a table,

              removed his clothes, sexually abused him by sliding a hand between his buttocks,

              and took mocking pictures of plaintiff’s buttocks. See Compl. ¶¶ 85–113

              a. All defendants in this group face allegations of deliberate indifference to

                  medical needs, excessive force, failure to intervene with respect to excessive

                  force, and sexual abuse, as well as unlawful search under the Fourth

                  Amendment.

              b. Defendant Gilles—as the alleged ringleader—also faces a claim under the

                  Equal Protection clause of the Fourteenth Amendment.

              c. Defendant Nesmith faces a charge of deliberate indifference for the medical

                  care rendered during the episode.

       5)     Between June 23 and July 9, 2019, defendant George Murphy violated plaintiff’s

              Due Process rights under the Fourteenth Amendment by failing to provide a fair

              disciplinary hearing. See Compl. ¶¶ 111–17.

       6)     On July 10, 2019, Defendants Gilles, Nesmith, and Christy Watkins were

              deliberately indifferent to plaintiff’s medical needs, used excessive force, and failed

              to intervene by putting a harmful concoction on plaintiff’s mouth. See Compl.



       3
         After paragraph 68 of the complaint, Plaintiff returned to paragraph 65. Compl. at 22–
23. Where a number in the complaint has been used more than once, a bracketed ordinal will be
used to reflect the additional appearance.
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               ¶¶ 118–26.

       7)      From July 11–15, 2019, defendants Gerard Caron, Melissa Collins, Donita

               McIntosh, and Christopher Miller were deliberately indifferent to plaintiff’s

               medical needs and the conditions of his confinement by ignoring his complaints

               regarding such conditions. See Compl. ¶¶ 129–34.

       8)      At some point prior to January 27, 2020, defendant Collins violated plaintiff’s Due

               Process rights under the Fourteenth Amendment by presiding over a “secret”

               disciplinary hearing. See Compl. ¶¶ 149–52.

This Court issued summonses to the sixteen above-identified defendants. Dkt. 14. The parties

completed discovery.

       Defendants now move this Court for an order granting them summary judgment on all

claims as to all defendants.

                                  STATEMENT OF FACTS

       A.      Plaintiff Receives Adequate Medical Care Upon Arrival to Great Meadow

       On or about October 29, 2018, Defendant Rocque assessed Plaintiff upon his initial transfer

into Great Meadow. Rocque Decl. Defendant Rocque discussed the medications that Plaintiff

was on. Rocque Decl. Given Plaintiff’s history of suicide attempts, his medications were held to

be distributed to him by medical personnel rather than held directly by Plaintiff for self-

administration. Goe Decl. ¶6, exh. A at 196.

       On November 1, 2018, Plaintiff had his initial meeting with his new primary care physician

at Great Meadow, Defendant Goe. Goe Decl. Defendant Goe treated each of the many concerns

Plaintiff raised at his appointment. Goe Decl. ¶5. Specifically, Dr. Goe treated Plaintiff’s

osteoarthritis, migraines, stomach pain, chronic sinus congestion, and pinched nerves. Goe. Decl.

¶4. At that appointment, Dr. Goe also made numerous referrals for Plaintiff to receive additional
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care. Goe Decl. ¶7. During that appointment, Defendant Goe noted that Plaintiff was not due for

a refill of his migraine medication, Imitrex. Goe Decl. ¶6, exh. A at 195. Defendant Goe also

made multiple appointments for follow-up specialty care for Plaintiff. Goe Decl. ¶7.

       In late 2018 and early 2019, Plaintiff wrote two letters to DOCCS’ senior executives

complaining about his medical care. Tandy-Walters Decl. exh. A. Defendant Morley asked

Defendant Tandy-Walters to respond to those letters. Tandy Walters Decl. at ¶5. Defendant

Tandy-Walters obtained and reviewed documentation, saw the documentation reflected

appropriate care, and wrote him back. Id. at ¶6.

       B.     Defendants Revive Plaintiff After an Apparent Drug Overdose, Plaintiff
       Resists a Strip Frisk, and Plaintiff Receives Administrative Discipline for his Conduct

       On June 17, 2019, Plaintiff was brought to the hospital at Great Meadow after being found

unconscious in the yard. Gilles Decl. It appeared to those around Plaintiff that a drug overdose

caused his unconsciousness. Gilles Decl. At the hospital, defendant Nesmith placed ammonia

near Plaintiff’s nose and mouth in a successful attempt to cause Plaintiff to regain consciousness.

Nesmith Decl. Plaintiff became agitated when the ammonia made him regain consciousness.

Nesmith Decl.

       After Plaintiff was out of medical jeopardy, Defendant Boule conducted a strip frisk.

Murphy Decl. exh. A at 7, exh. B. During the strip frisk, Plaintiff attempted to reach for his rectum,

and he was restrained from doing so. Gilles Decl. Defendant Boule issued Plaintiff a misbehavior

report for his attempt to interfere with the strip frisk. Murphy Decl., exh. B at 13.

       Between June 22, 2019 and July 2, 2019, Defendant Murphy presided over the disciplinary

hearing on the misbehavior report written by Defendant Boule. Murphy Decl.; id. exh. A at 6.

Defendant Murphy did not engage in an off-the-record conversation with Plaintiff, nor did he

coerce Plaintiff to plead guilty. Murphy Decl. Defendant Murphy found Plaintiff guilty of Violent


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Conduct, Refusing a Direct Order, and Refusing Search and Frisk; and he imposed a penalty of 99

days in SHU, and 120 days of loss of packages, commissary, and phones in addition to the 15 days

pre-hearing keeplock Plaintiff had already served. Murphy Decl. On appeal, the Violent Conduct

charge was set aside and the penalty on the remaining charges was reduced to 15 days pre-hearing

keeplock, 19 days keeplock, and 56 days SHU—which were collectively served in the 90-day

period between June 17, 2019 and September 15, 2019—and 120 days of loss of packages,

commissary, and phones. Stone Decl, exh. A; Murphy Decl., exh. B at 1.

       C.    Plaintiff    Again    Requires    Resuscitation    While    Serving    Disciplinary
       Confinement

       While Plaintiff was serving his disciplinary confinement in the SHU in July 2019, it was

no hotter or smokier than any other parts of the prison. Collins Decl. On July 10, 2019, Plaintiff

was found lying on the ground unresponsive. Goe decl., exh. A at 20. In response, Defendants

Nesmith and Watkins administered ammonia. Nesmith Decl. Plaintiff ‘s medical records indicate

that he “responded well to ammonia.”     Goe Decl. exh. A at 21. However, he became “hostile,

agitated” when revived. Id.

       D.      Plaintiff Refuses to Attend a Disciplinary Hearing

       On December 23, 2019, Defendant Collins presided over a disciplinary hearing. Collins

Decl. Plaintiff refused to attend. Id. The “refusal to attend/removal from hearing form” upon

which Defendant Collins relied was filled out and signed by one correction officer and witnessed

by a second. Id.; id. at Exh. A at 23. Defendant Collins consequently conducted the hearing in

absentia, and—based upon the evidence before her—convicted Plaintiff of Refusing a Direct Order

and a Urinalysis Testing Violation. Collins Decl. She imposed a penalty of 54 days of keeplock,

loss of packages, and loss of commissary in addition to the 6 days of pre-hearing keeplock already

served. Id.


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          Plaintiff did not make any allegations as to the conditions of confinement for those sixty

days, and no record evidence describes the conditions of confinement during that time period.

          E.     Plaintiff Did Not Avail Himself of Administrative Remedies

          The only two claims Plaintiff fully grieved through the Central Office Review Committee

(“CORC”) process were (1) against Defendant Rocque relating to the medical appointment on

October 29, 2018 reflected in paragraphs 45–47 of the complaint; and (2) against Dr. Goe for the

medical appointment on November 1, 2018 reflected in paragraphs 48–50 of the complaint.

Seguin Decl. As to every other allegation in the complaint, Plaintiff failed to exhaust his

administrative remedies.

          Further, in March 2020, Plaintiff informed the DOCCS Office of Special Investigations

(“OSI”) that Defendant Gilles sexually abused him on June 11, 2019. Frierson Decl.

                                       LEGAL STANDARD

          Pursuant to FRCP 56, summary judgment is appropriate if there is no genuine issue as to

any material fact and the movant is entitled to judgment as a matter of law. See Fed. R. Civ. P.

56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). A fact is “material” for purposes of this

inquiry if it “might affect the outcome of the suit under the governing law . . . Factual disputes that

are irrelevant or unnecessary will not be counted.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

248 (1986). A dispute of fact is “genuine” if “the [record] evidence is such that a reasonable jury

could return a verdict for the non-moving party.” Id.

          The movant bears the initial burden of demonstrating that there is no genuine issue of

material fact. See Celotex, 477 U.S. at 323. If this initial burden is met, the opposing party must

show that there is a material dispute of fact for trial. See Fed. R. Civ. P. 56(e); Celotex, 477 U.S.

at 324.



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       Although the evidence and reasonable inferences should be construed in favor of the non-

movant, the non-movant must nonetheless “do more than simply show that there is some

metaphysical doubt as to the material facts.” Matushita Elec. Indus. Co., Ltd. v. Zenith Radio

Corp., 475 U.S. 574, 585-86 (1986). To defeat a motion for summary judgment, the non-movant

must point to specific evidence showing a genuine issue for trial. See Salahuddin v. Goord, 467

F.3d 263, 273 (2d Cir. 2006). “Conclusory allegations, conjecture and speculation . . . are

insufficient to create a genuine issue of fact.” Kerzer v. Kingly Mfg., 156 F.3d 396, 400 (2d Cir.

1998) (citation omitted); Yennard v. Boces, 353 F. Supp. 3d 194 (N.D.N.Y. 2019).

       Even when a party is pro se, his bald assertion, unsupported by evidence, is not sufficient

to overcome a motion for summary judgment. Cucuta v. New York City, 25 F. Supp. 3d 400, 409

(S.D.N.Y. 2014); Roseboro v. Gillespie, 791 F. Supp. 2d 353, 364 (S.D.N.Y. 2011); see Carey v.

Crescenzi, 923 F.2d 18, 21 (2d Cir. 1991).

       To the extent that a defendant’s motion for summary judgment is based entirely on a

complaint, such a motion is functionally the same as a motion to dismiss for failure to state a claim

under Rule 12(b)(6). See Bradley v. Rell, 703 F. Supp. 2d 109, 114 (N.D.N.Y. 2010). Thus,

“[w]here appropriate, a trial judge may dismiss for failure to state a cause of action upon motion

for summary judgment.” Schwartz v. Compagnie Gen. Transatlantique, 405 F.2d 270, 273-74 (2d

Cir. 1968); see Risco v. McHugh, 868 F. Supp. 2d 75, 106, n 45 (S.D.N.Y. 2012); Bradley, 703 F.

Supp. 2d at 114. Although the court should accept factual allegations as true and draw reasonable

inferences in the plaintiff’s favor (see Holmes v. Grubman, 568 F.3d 329, 335 (2d Cir. 2009)),

“[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements” are insufficient to withstand a motion to dismiss because such statements are not




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entitled to the presumption of truth. Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 555); see

Thomas v. City of Troy, 293 F. Supp. 3d 282, 293 (N.D.N.Y. 2018).

                                         ARGUMENT

                                            POINT I

 PLAINTIFF FAILED TO EXHAUST AVAILABLE ADMINISTRATIVE REMEDIES WITH
     RESPECT TO ALL CLAIMS RELATING TO INCIDENTS OCCURRING AFTER
                           NOVEMBER 1, 2018

       Under the PLRA, “[n]o action shall be brought with respect to prison conditions under §

1983 . . . by a [DOCCS incarcerated person] until such administrative remedies as are available

are exhausted.” 42 U.S.C. § 1997e(a). “Exhaustion is mandatory – unexhausted claims may not

be pursued in federal court.” Amador v. Andrews, 655 F.3d 89, 96 (2d Cir. 2011) (citations

omitted). “[T]he PLRA’s exhaustion requirement applies to all inmate suits about prison life,

whether they involve general circumstances or particular episodes.” Porter v. Nussle, 534 U.S.

516, 532 (2002).

       If an incarcerated plaintiff fails to fully comply with the administrative process prior to

commencing an action in federal court, the action is subject to dismissal. See Ruggiero v. Cty. of

Orange, 467 F.3d 170, 176 (2d Cir. 2006) (“[U]ntimely or otherwise procedurally defective

attempts to secure administrative remedies do not satisfy the PLRA’s exhaustion requirement.”).

       A.      DOCCS Incarcerated Grievance Program

       DOCCS has a well-established incarcerated grievance program (IGP). See N.Y. Comp.

Codes R. & Regs. (N.Y.C.R.R.) tit. 7, § 701.5 (2018). DOCCS’ IGP affords every incarcerated

person “an orderly, fair, simple and expeditious method for resolving grievances” (7 N.Y.C.R.R.

§ 701.1) regarding any concern about the substance or application of a written or unwritten policy,

regulation, procedure or rule of the prison system, as well as complaints of employee misconduct

“meant to annoy, intimidate or harm an inmate.” 7 N.Y.C.R.R. § 701.2(a)-(e). The IGP has long

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been recognized as an available remedy for purposes of the PLRA. See e.g. Abney v. McGinnis,

380 F.3d 663, 668 (2d Cir. 2004); Smith v. Kelly, 985 F. Supp. 2d 275, 279 (N.D.N.Y. 2013).

       As a general matter, the IGP consists of a three-step grievance and appeal procedure. See

7 N.Y.C.R.R. § 701.5 et seq. First, an incarcerated person must file a written grievance with the

IGP clerk at his correctional facility within twenty-one (21) calendar days of the alleged

occurrence. 7 N.Y.C.R.R. § 701.5(a). The IGP clerk then forwards the grievance to the

Incarcerated Grievance Resolution Committee (“IGRC”), which has “up to sixteen (16) calendar

days after a grievance is filed to resolve it informally.” Id. § 701.5(b)(1). If there is no informal

resolution, the IGRC conducts a hearing “within sixteen (16) calendar days after receipt of the

grievance” and thereafter issues a written recommendation within two (2) working days. Id. §

701.5(b)(2)(ii), (b)(3)(i). Second, if an incarcerated person is dissatisfied with the IGRC’s decision,

he may appeal to the facility superintendent. 7 N.Y.C.R.R. § 701.5(c). At the third and final step

of the IGP, an incarcerated person must appeal an adverse superintendent’s decision to the CORC

within seven (7) calendar days after receipt of the decision. Id. § 701.5(d)(l)(i).

       Generally, a person confined in a DOCCS facility must properly exhaust all three levels of

review afforded by the IGP before he or she seeks relief pursuant to Section 1983 in federal court.

See Torres v. Carry, 672 F. Supp. 2d 338, 344 (S.D.N.Y. 2009); Murray v. Goord, 668 F. Supp.

2d 344, 356 (N.D.N.Y. 2009). However, there is a much lighter exhaustion requirement when an

incarcerated person alleges an incident of “sexual abuse” or “sexual harassment,” as those terms

are defined in DOCCS Directive # 4027A and Directive # 4027B. See 7 NYCRR § 701.3(i) (citing,

inter alia, Prison Rape Elimination Act [PREA] Standards [28 C.F.R. § 115.06]); King v.

Puershner, 2019 U.S. Dist. LEXIS 160224, at *20–21 (S.D.N.Y. Sept. 19, 2019). To exhaust a




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claim of sexual abuse, the incarcerated person need only report the incident. See 7 NYCRR §

701.3(i).

       B.      Plaintiff did not exhaust administrative remedies with respect to numerous
       allegations in the complaint.

       “[A]n inmate who does not file a grievance with IGRC has failed to exhaust his

administrative remedies.” Mckinney v. Prack, 170 F. Supp. 3d 510, 515 (W.D.N.Y. 2016). Here,

the only two claims for which Plaintiff fully exhausted his administrative remedies were (1) against

Defendant Rocque relating to the medical appointment reflected in paragraphs 45–47 of the

complaint; and (2) against Dr. Goe for the medical appointment reflected in paragraphs 48–50 of

the complaint. However, plaintiff did not file a grievance regarding any of the following claims:

 Date(s)          Complaint ¶     Defendant(s)             Type

 November 16 51, 53               Nesmith                  Deliberate Indifference
 & 21, 2018

 December 5, 54-66                Goe & Karandy            Deliberate Indifference
 2018        –
 February 2019

 December 14, 65[2] – 66[2], Tandy-Walters                 Deliberate Indifference
 2018         68

 February     5, 67[2] – 68[2]    Morley                   Deliberate Indifference
 2019

 May 17, 2019     72              Goe                      Deliberate Indifference

 June 17, 2019    85 – 99, 102 Boule, Gilles, Nes- Excessive Force, Failure to Intervene,
                  – 113        mith, Papa, & Rich  Unlawful Search, Sexual Abuse

 January      – 149 – 152         Collins                  Due Process
 February, 2020

 July 9 – 10, 118–119,            Gilles, Nesmith, and Deliberate Indifference, Excessive
 2019         125–126             Watkins              Force, Failure to Intervene

 June 23, 2019    111 – 17        Murphy                   Due Process



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 July 11 – 15, 129 – 134         Caron,      Collins, Deliberate Indifference; Conditions of
 2019                            McIntosh, & Miller   Confinement

 July 2019       138             Goe & Karandy            Deliberate Indifference



Seguin Decl. Plaintiff did not file grievances regarding any of the above-mentioned complaints.

Accordingly, all of the above-mentioned claims should be dismissed because Plaintiff failed to

exhaust his administrative remedies except for the two exceptions mentioned above. See generally

Mckinney, 170 F. Supp. 3d at 515.

       C.     Plaintiff did not exhaust administrative remedies with respect to the sexual
       abuse claim.

       Sexual abuse has a different grievance process than any other claim. See 7 NYCRR §

701.3(i). For the purposes of the PLRA, “an allegation concerning an incident of sexual abuse or

sexual harassment ‘shall be deemed exhausted if official documentation confirms that’ the inmate

reported the incident ‘to facility staff.’” Hayes v. Dahlke, 976 F.3d 259, 264 (2d Cir. 2020)

(quoting 7 NYCRR § 701.3[i]). When an incarcerated person reports sexual abuse to the OSI—

the successor to DOCCS’ Inspector General—his claim is fully exhausted for the purposes of the

PLRA. 7 NYCRR § 701.3(i)(1).

       In March of 2020, Plaintiff informed OSI that Defendant Gilles and six unknown correction

officers sexually abused him on June 11, 2019. See Frierson Decl. Plaintiff did not indicate that

anything happened on June 17, 2019—the date of the incident in the complaint. See Frierson

Decl.; Compl. at ¶¶82–105. Thus, Plaintiff’s OSI report does not satisfy his exhaustion burden

under the PLRA. No record evidence demonstrates that Plaintiff ever informed any DOCCS staff




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of sexual abuse occurring on June 17, 2019. The Court should accordingly dismiss the sexual

abuse claims.4

                                             POINT II

  NO DEFENDANT WAS DELIBERATELY INDIFFERENT TO PLAINTIFF’S MEDICAL
                              NEEDS

       To state an Eighth Amendment claim for medical indifference, a prisoner must demonstrate

that prison officials acted with deliberate indifference to a serious medical need. Estelle v. Gamble,

429 U.S. 97, 104 (1976); see McKenna v. Wright, 386 F.3d 432, 436–37 (2d Cir. 2004). A medical

indifference claim has two necessary components, one objective and the other subjective. Smith

v. Carpenter, 316 F.3d 178, 183–84 (2d Cir. 2003). Under the objective prong, “‘the alleged

deprivation must be sufficiently serious, in the sense that a condition of urgency, one that may

produce death, degeneration, or extreme pain exists.’” Hill v. Curcione, 657 F.3d 116, 122 (2d

Cir. 2011) (quoting Hathaway v. Coughlin, 99 F.3d 550, 553 [2d Cir. 1996]).

       Under the subjective component, the plaintiff must demonstrate that the defendant acted

with a sufficiently culpable state of mind. See Farmer v. Brennan, 511 U.S. 825, 835 (1994)

(deliberate indifference requires “more than mere negligence” but “less than acts or omissions for

the very purpose of causing harm or with knowledge that harm will result”). Here, the incarcerated

person must prove that: (1) the prison medical provider was “aware of facts from which the

inference could be drawn that a substantial risk of serious harm exists,” and (2) he actually drew

that inference. Id. at 837. Malpractice does not rise to the level of deliberate indifference unless


       4
         Even if the Court disagrees, this does not exhaust Plaintiff’s administrative remedies for
the other claims allegedly occurring on June 17, 2019. See Sheffer v. Fleury, 2019 U.S. Dist.
LEXIS 158842 (N.D.N.Y. September 18, 2019) (Kahn, J.) (explaining that only those claims
“necessarily intertwined” with the sexual abuse—such as failure to intervene for the sexual
assault—are deemed exhausted). When describing the sexual abuse to OSI, Plaintiff did not even
discuss the alleged physical assault perpetrated by any of the Defendants—either known or
unknown. See Frierson Decl. Thus, it cannot be said that they are “necessarily intertwined.”
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the medical defendant’s failure to act “evinces a conscious disregard of a substantial risk of serious

harm.” Hathaway, 99 F.3d at 553 (internal quotation marks omitted).

       A medical defendant has Eighth Amendment liability only when the evidence demonstrates

the defendant is “subjectively aware that his conduct creates such a risk. . . The defendant’s belief

that his conduct poses no risk of serious harm (or an insubstantial risk of serious harm) need not

be sound so long as it is sincere. Thus, even if objectively unreasonable, a defendant’s mental

state may be nonculpable.” Salahuddin v. Goord, 467 F.3d 263, 281 (2d Cir. 2006).

       A.      The Medical Defendants Provided Constitutionally Adequate Care

       The declarations of defendants Goe and Rocque indicate that each spent a substantial time

documenting and treating Plaintiff’s medical issues upon Plaintiff’s arrival to Great Meadow.

Plaintiff’s medical records (Goe Decl., exh. A) indicate that Plaintiff had significant medical needs

and that the medical Defendants did their level best to meet those needs. Defendant Rocque

assessed Plaintiff upon his intake to Great Meadow and advised him a physician would be

reviewing his prescriptions. Rocque Decl. Defendant Goe treated each and every ailment that

Plaintiff articulated. Goe Decl. To the extent that Plaintiff brings this suit because he could no

longer self-administer medications after arriving at Great Meadow, “requiring self-administration

or not allowing self-administration is a matter of medical discretion” which “does not rise to the

level of deliberate indifference.” Banks v. LeBlanc, 2019 U.S. Dist. LEXIS 155975 at *10 & n.56

(M.D. La. August 27, 2019) (collecting cases).

       The record evidence does not demonstrate that any medical defendant ignored a

sufficiently serious condition. Plaintiff’s medical records rebut his assertion that the medical

defendants ignored any medical condition, let alone a condition likely to cause prolonged, extreme

pain or death. Defendant Goe indicated that Plaintiff always had access to appropriate medication.

Goe Decl. The medical records support this assertion. Goe Decl., exh. A. Further, the records
                                                 13
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indicate that Plaintiff routinely refused to participate in physical therapy. Goe Decl., exh. A at 2,

5, 7, 14–16, 18–19, 23, 28.      To the extent Plaintiff disagrees with medical professionals’

prescriptions, it “is well-established that mere disagreement over the proper treatment does not

create a constitutional claim. So long as the treatment given is adequate, the fact that a prisoner

might prefer a different treatment does not create a constitutional claim.” Chance v. Armstrong,

143 F.3d 698, 703 (2d Cir. 1998).

       Further—although the record evidence establishes Dr. Goe provided appropriate treatment

to Plaintiff for his knee and shoulder and referred him to specialists, Goe Dec. ¶¶ 7 & 10—those

maladies are not sufficiently serious to warrant protection under the Eighth Amendment. See

Johnson v. Wright, 477 F. Supp. 2d 572, 576 (W.D.N.Y. 2007) (knee injury not sufficiently serious

where defendant provided some treatment).

       B.      Defendants Nesmith and Watkins Provided Appropriate Care

       On two occasions—the latter of which Defendant Watkins was present for—Defendant

Nesmith administered ammonia to Plaintiff. Nesmith Decl. Whether the June 17th and July 10th

medical treatment was necessitated by innocent medical incidents—as Plaintiff claims—or

apparent overdoses, there is no dispute that Plaintiff needed acute medical care on both dates.

Nesmith Decl.; id. exh. A; Compl. at ¶¶ 83, 123–125. On both dates, Plaintiff was administered

ammonia. On both dates, the ammonia did what it was supposed to do: revive Plaintiff. Nesmith

Decl.; id. exh. A. Further, the Nesmith declaration demonstrates that the course of treatment was

genuinely in Plaintiff’s best interest on each of those two occasions. Accordingly, even if the

Court finds Plaintiff exhausted his administrative remedies, it should grant summary judgment on

the merits of the claim.




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       C.     Defendants Tandy-Walters and Morley Investigated Plaintiff’s Allegations of
       Deficient Medical Care

       Plaintiff claims that Defendants Tandy-Walters and Morley were deliberately indifferent

to his medical needs by failing to remedy conditions of which they had knowledge based upon

letters he wrote. Compl. at ¶¶ 68, 65[2]–68[2]. The record demonstrates that these two Defendants

received Plaintiff’s letters, obtained documentation, saw that Plaintiff was receiving appropriate

treatment based upon the reviewed documentation, and wrote him back. Tandy-Walters Decl.;

Tandy-Walters Decl., exh. A.

       As an initial matter, failure “to investigate a letter of protest written by an inmate is not

sufficient to show personal involvement.” Harnett v. Barr, 538 F. Supp. 2d 511, 524 (N.D.N.Y.

2008). Moreover, this Court has held that prisoners’ letters are “insufficient to establish personal

involvement by the DOCS Chief Medical Officer” where “he did not personally make any medical

decisions regarding the plaintiff.” Wright v. Genovese, 694 F. Supp. 2d 137, 161 n.16 (N.D.N.Y.

2010) (Baxter, J.) (citing Gonzalez v. Wright, 665 F. Supp. 2d 334 [S.D.N.Y. 2009]). Here, neither

Defendant Tandy-Walters nor Defendant Morley treated Plaintiff. They simply reviewed his

complaint, reviewed documentation, ensured that the documentation reflected that he had been

receiving appropriate care, and re-assured him that he had upcoming appointments to continue to

address his concerns. This does not establish Defendants Tandy-Walters and/or Morley’s personal

involvement for any alleged deliberate indifference occurring miles away at Great Meadow.

       Even if the Court finds that these two defendants had personal involvement and exhibited

deliberate indifference, the record evidence fails to support that Plaintiff complained of a

sufficiently serious medical need to warrant Eighth Amendment protection. See Banks v. Annucci,

48 F. Supp. 3d 394, 409 (N.D.N.Y. 2014) (finding that prison medical staff did not exhibit

deliberate indifference where there was a six-week-delay in providing a prisoner medical care for


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a lump on his eyeball). Contrary to Defendant’s contention that Defendants Morley and Tandy-

Walters had knowledge of all of his maladies, their letters indicate that Plaintiff complained only

about insufficient optical care.     Tandy-Walters Decl., exh. A.        Defendant Tandy-Walters’

December 14, 2018 letter indicates that Plaintiff is “currently scheduled to be seen by optical

services and awaiting scheduling to be seen by the eye specialist,” and Defendant Morley’s

February 5, 2019 letter indicates Plaintiff was “seen by the eye specialist on January 28, 2019 and

currently scheduled to be seen by optometry.” Id. The letters do not provide any other detail about

any other services Plaintiff requested or needed. Id.         Accordingly, the Court should grant

summary judgment to Defendants Morley and Tandy-Walters even if the Court determines

Plaintiff exhausted his administrative remedies.

       D.      Each Medical Defendant Has Qualified Immunity

       Qualified immunity protects government officials from civil liability in the performance of

discretionary functions “as long as their actions could reasonably have been thought consistent

with the rights they are alleged to have violated.” Anderson v. Creighton, 483 U.S. 635, 638

(1987). This protection “shields government officials from civil damages liability unless the

official violated a statutory or constitutional right that was clearly established at the time of the

challenged conduct.” Soto v. Gaudett, 862 F.3d 148, 156 (2d Cir. 2017) (internal citations and

quotation marks omitted). Officials are “entitled to qualified immunity when their decision was

reasonable, even if mistaken; the doctrine gives ample room for mistaken judgments.” Rogoz v.

City of Hartford, 796 F.3d 236, 247 (2d Cir. 2015) (internal quotations and citations omitted).

       Prison officials performing tasks entrusted to their discretion typically “are shielded from

liability for civil damages insofar as their conduct does not violate clearly established statutory or

constitutional rights of which a reasonable person would have known.” Harlow v. Fitzgerald, 457

U.S. 800, 818 (1982). To establish this defense at the summary judgment stage, defendants must
                                                 16
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show either that their conduct did not violate clearly established rights of which a reasonable

person would have known, or that it was objectively reasonable for them to believe that their acts

did not violate these clearly established rights. See Soares v. State of Conn., 8 F.3d 917, 920 (2d

Cir. 1993). Supreme Court and Court of Appeals precedent existing at the time of the alleged

violation are of the utmost importance in deciding whether a right is clearly established. See

Terebesi v. Torreso, 764 F.3d 217, 231 (2d Cir. 2014); Moore v. Vega, 371 F.3d 110, 114 (2d Cir.

2004).

         Although Plaintiff has a clearly established right to be free from deliberate indifference to

his serious medical needs, LaBounty v. Coughlin, 1377 F.3d 68 (2d Cir. 1998), no medical

defendant violated clearly established law. The record evidence establishes that Rocque and Goe

assessed and treated Plaintiff upon his admission into Great Meadow, and that Defendants Goe

and Karandy treated Plaintiff while he was at Great Meadow. Roque Decl; Goe Decl.; Goe Decl.

exh. A. A comparison of the record evidence to the allegations in the complaint reveals that this

is a question about medical judgment, and while that may be ripe for a malpractice suit, it is not

cruel and unusual punishment. See Estelle v. Gamble, 429 U.S. 97, 107 (1976). Plaintiff has no

clearly established right to perfect medical care.

         Similarly, Defendants Nesmith and Watkins used ammonia in successful attempts to revive

plaintiff. See Nesmith Decl. Although Plaintiff may think their medical judgment inappropriate,

it is a medical judgment not subject to Eighth Amendment scrutiny. Plaintiff has no clearly

established right to dictate the manner in which medical staff resuscitates him.

         Finally, Defendants Morley and Tandy-Walters did what they could do from afar: review

Plaintiff’s allegations, review available records, and respond. See Tandy-Walters Decl. Like their

colleagues, they violated no clearly established right of Plaintiff.



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       Qualified immunity protects “all but the plainly incompetent or those who knowingly

violate the law.” Taylor v. Barkes, 575 U.S. 822, 825 (2015). The record evidence demonstrates

that the medical defendants were not plainly incompetent, and that they did not knowingly violate

the law. The Court should grant each summary judgment.

                                             POINT III

     THE COURT SHOULD GRANT SUMMARY JUDGMENT ON ALL JUNE 17, 2019
              CLAIMS TO DEFENDANTS BOULE, PAPA, AND RICH

       When a Section 1983 plaintiff cannot identify which among multiple defendants violated

his constitutional rights, the defendants are entitled to summary judgment. See Piper v. City of

Elmira, 12 F. Supp. 3d 577, 591 (W.D.N.Y. 2014) (granting summary judgment where “[d]espite

being afforded substantial time to conduct discovery, [plaintiff] has not identified the officer who

allegedly” used excessive force); Paul v. City of Rochester, 452 F. Supp. 2d 223, 228 (W.D.N.Y.

2006) (granting summary judgment where plaintiff could not identify which officer used force

from the two named county officers and multiple unnamed city officers). Indeed, it “is one thing

to identify by name three officers who were in the room and sue them despite not knowing which

ones undertook to beat a plaintiff and which ones failed to prevent the beating” because “the

plaintiff in that situation knows who all of the police officers are,” each is “potentially liable and

a jury can sort out their respective roles if they accept the plaintiff’s story. It is another matter

entirely to . . . sue some by name and then assert claims against unnamed defendants, and expect

to receive a verdict and judgment against the named officers” only. Rasmussen v. City of New

York, 766 F. Supp. 2d 399, 412 (E.D.N.Y. 2011).

       Here, Plaintiff testified in his deposition that he cannot identify Defendants Boule, Papa,

and Rich. Reiner Decl., exh. A at 18–19, 142, 144–46. In fact, Plaintiff also testified that

Defendant Morley—DOCCS’ Chief Medical Officer, see Tandy-Walters Decl. exh. A—and


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Defendant Caron—the Deputy Superintendent for Security, see Compl. at ¶9 (admitted by dkt. 33

at ¶7)—also participated in the beating. Reiner decl., exh. A at 145. Prior to his deposition,

Plaintiff had only alleged that Defendants Caron and Morley were involved in causes of action

wholly unrelated to the June 17 assault, but two years after the fact, Plaintiff identified them for

the first time as additional assailants. Plaintiff could walk past any Defendant in this action—

excluding Gilles—and not know who they are. At a potential trial, Plaintiff could not point to one

of these defendants and testify “that is defendant X, he did Y to me.” Rather, Plaintiff will only

be able to testify to names that he got off of a piece of paper without associating those names with

an actual litigant at trial. Under these circumstances, no reasonable jury could find personal

involvement of any of these Defendants—a prerequisite for Section 1983 liability. See Rother v.

NYS Dep’t of Corr. & Cmty. Supervision, 970 F. Supp. 2d 78, 102 (N.D.N.Y. 2013).

       More troublingly, plaintiff has brought the sexual assault claim against seven assailants—

or nine, including the belated additions of Defendants Morley and Caron—but cannot distinguish

what Defendants Boule, Papa, and Rich did, as opposed to the three Doe defendants and/or

Defendants Morley and Caron. Any potential judgment against Defendants Boule, Papa, and Rich

would almost certainly be holding them liable for the alleged actions of the three Doe defendants

(and/or Morley and Caron). Plaintiff “cannot predicate claims against named defendants based on

the acts of unnamed defendants.” Rasmussen, 766 F. Supp. 2d at 412. Plaintiff’s deposition

testimony was clear: two individuals assisted Defendant Gilles to perpetrate the alleged sexual

abuse by holding his buttocks. Reiner Decl. at 41. While others may have been present—some

of whom allegedly mocked plaintiff—they did not personally participate.5 The Court should




       5
          The only failure to intervene claims that survived initial review relate to the excessive
force claim, not the sexual abuse claim. Dkt. 8 at 30.
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therefore grant summary judgment as to Defendants Boule, Papa, and Rich on the June 17 causes

of action.

                                            POINT IV

    THE CAUSES OF ACTIONS RELATED TO THE DISCIPLINARY HEARINGS ARE
  INSUFFICIENT AS A MATTER OF LAW AND BELIED BY THE RECORD EVIDENCE

       The mere imposition of “discipline in segregated confinement d[oes] not present the type

of atypical, significant deprivation in which a state might conceivably create a liberty interest”

actionable under the Due Process clause. Sandin v. Conner, 515 U.S. 472, 486 (1995). To be

atypical based on duration alone, the administrative discipline must exceed 101 days. See Colon

v. Howard, 215 F.3d 227, 230–31 (2d Cir. 2000).       The Murphy hearing resulted in Plaintiff’s

serving 90 days of restrictive confinement, and the Collins hearing resulted in 60 days. Thus, this

Court can only find a sufficient deprivation if Plaintiff offers “a more fully developed record

show[ing] that [these] relatively brief confinements under normal SHU conditions were, in fact,

atypical.” Palmer v. Richards, 364 F.3d 60, 65 (2d Cir. 2004).

       A.      The Allegations Against Defendant Collins Fail as a Matter of Law

       On December 23, 2019, Defendant Collins found Plaintiff guilty of refusing a direct order

and a urinalysis testing violation and imposed a sentence of 54 days of keeplock, loss of packages,

and loss of commissary in addition to the 6 days of pre-hearing keeplock Plaintiff already served.

Collins Decl. Plaintiff makes no allegation regarding the conditions of confinement in which he

served these 60 days. Thus, the allegations fail as a matter of law to establish a due process

violation. See Colon, 215 F.3d at 230–31.

       Even if the allegations were sufficient to state a claim, the record evidence demonstrates

that Defendant Collins relied upon a “refusal to attend/removal from hearing form” sworn to by




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two COs that Plaintiff refused to attend the hearing. Collins Decl.; id. at Exh. A at 23. The record

thus disproves that Defendant Collins conducted a “secret hearing” as alleged by Plaintiff.

       B.    The Record Evidence Demonstrates That The Hearing Over Which Defendant
       Murphy Presided Comported With Due Process, and The Punishment Did Not
       Impact Plaintiff’s Liberty Interest

       It “is well recognized that prison disciplinary hearing officers are not held to the same

standard of neutrality as adjudicators in other contexts.” Allen v. Cuomo, 100 F. 3d 253, 259 (2d

Cir. 1996) (citing Francis v. Coughlin, 891 F.2d 43, 46 [2d Cir. 1989] [“a prison hearing officer’s

impartiality generally does not have to mirror that of judicial officers”]). An impartial hearing

officer is one who, inter alia, does not prejudge the evidence and who cannot say how he or she

would assess evidence he or she has not yet seen. See Patterson v. Coughlin, 905 F.2d 564, 570

(2d Cir. 1990). “[P]rison adjudicators are presumed to be unbiased.” Smith v. Graham, 684 F.

App'x 13, 14 (2d Cir. 2017) (internal cite and quotation marks omitted). A plaintiff’s own

subjective belief that the hearing officer was biased is insufficient to create a genuine issue of

material fact. See Allah v. Ryan, 436 F. Supp. 3d 621, 630 (W.D.N.Y. 2020); Barnes v. Cty. of

Monroe, 85 F. Supp. 3d 696, 719 (W.D.N.Y. 2015).

       For the hearing over which defendant Murphy presided, Plaintiff served 90 days of punitive

confinement consisting of 15 days pre-hearing keeplock, 19 days keeplock, and 56 days SHU.

Stone Decl; Murphy Decl. exh. B at 1. Plaintiff’s 90-day punitive confinement does not—by

itself—establish a liberty interest. See Colon, supra. Although Plaintiff makes allegations about

smokiness and excessive heat in the SHU, the record evidence demonstrates that the amount of

heat and smoke in the SHU were no different than they were in the rest of the prison.6 Collins


       6
          Plaintiff testified at his deposition that the SHU was unreasonably hot and smokey.
Accordingly, Defendants only put forth this argument with respect to the Due Process claim, not
the conditions of confinement claim—for which summary judgment is still warranted given his
failure to exhaust administrative remedies. Regardless of the conditions of the SHU, Plaintiff
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Decl. Thus, the SHU penalty did not affect the conditions of confinement. No record evidence

suggests that Plaintiff’s SHU confinement was anything other than typical.

       Even if the record evidence established a liberty interest, Defendant Murphy did not engage

in any improper off the record conversations. Murphy Decl. Further, the transcript and hearing

packet demonstrate that the hearing comported with the minimum standards of due process.

Murphy Decl., Exhs. A & B. Thus, the record evidence demonstrates no departure from the

requirements of due process.

                                        CONCLUSION

       For the reasons set forth above, the Court should grant Defendants’ Motion for Summary

Judgment.

Dated: Albany, New York
       December 2, 2021
                                                LETITIA JAMES
                                                Attorney General of the State of New York
                                                Attorney for Defendants
                                                The Capitol
                                                Albany, New York 12224


                                                By: s/ Jonathan S. Reiner
                                                Jonathan S. Reiner
                                                Assistant Attorney General, of Counsel
                                                Bar Roll No. 702645
                                                Telephone: (518) 776-2641
                                                Fax: (518) 915-7738 (Not for service of papers)
                                                Email: jonathan.reiner@ag.ny.gov




would have no way of knowing the conditions in the portions of the prison outside of the SHU
while he served his administrative punishment. Defendant Collins’ comparison of the conditions
in the SHU and the other portions of the prison is thus unrebutted.
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              APPENDIX
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                                               King v. Puershner
                          United States District Court for the Southern District of New York

                              September 18, 2019, Decided; September 19, 2019, Filed

                                                   No. 17-CV-1373 (KMK)

Reporter
2019 U.S. Dist. LEXIS 160224 *; 2019 WL 4519692
                                                              Chiocchi ("Nurse Chiocchi") (collectively, "Defendants").
LIONEL MICHAEL KING, Plaintiff, v. M.T.
                                                              Plaintiff alleges that, while incarcerated at Sullivan, he
PUERSHNER, et al., Defendants.
                                                              was assaulted and thereafter denied adequate medical
Subsequent History: Dismissed by King v. Puershner,           treatment, in violation of his rights under the Eighth
2019 U.S. Dist. LEXIS 214144 (S.D.N.Y., Dec. 11,              Amendment. (See generally Compl. (Dkt. No. 1).)
2019)                                                         Before the Court is Defendants' Motion for Summary
                                                              Judgment (the "Motion"). (Not. of Mot. (Dkt. No. 71).)
Counsel: [*1] Lionel M. King, Plaintiff, Pro se,              For the reasons that follow, the Motion is granted.
Napanoch, NY.                                                 However, Plaintiff is granted leave to amend his
For Defendants: Janice Powers, Esq., New York State           Complaint to add a claim of sexual assault.
Office of the Attorney General, White Plains, NY.

Judges: KENNETH M. KARAS, UNITED STATES                       I. Background

DISTRICT JUDGE.

                                                              A. [*2] Factual Background
Opinion by: KENNETH M. KARAS
                                                              The following facts are drawn from Defendant's
Opinion                                                       statement pursuant to Local Civil Rule 56.1, (Defs.'
                                                              Local Rule 56.1 Statement ("Defs.' 56.1") (Dkt. No. 96)),
                                                              Plaintiff's Complaint, (Compl. (Dkt. No. 1)), and the

OPINION & ORDER                                               admissible evidence submitted by the Parties.1 The

KENNETH M. KARAS, District Judge:

Lionel Michael King ("Plaintiff"), currently an inmate at     1 Local   Civil Rule 56.1(a) requires the moving party to submit a
Eastern Correctional Facility, brings this pro se Action,     "short and concise statement, in numbered paragraphs, of the

pursuant to 42 U.S.C. § 1983, against several prison          material facts as to which the moving party contends there is
                                                              no genuine issue to be tried." The nonmoving party must then
officials at Sullivan Correctional Facility ("Sullivan") —
                                                              submit "a correspondingly numbered paragraph responding to
Correction Officers M.T. Puershner ("Puershner"), M.
                                                              each numbered paragraph in the statement of the moving
Mokowski ("Mokowski"), Slater ("Slater"), Daddezio
                                                              party, and if necessary, additional paragraphs containing a
("Daddezio"), and Stauch ("Stauch"); Sergeants Beach
                                                              separate, short[,] and concise statement of additional material
("Beach") and Barlow ("Barlow"); and Nurse Carol              facts as to which it is contended that there exists a genuine
             Case 9:20-cv-00622-LEK-ATB Document 63-1 Filed 12/02/21 Page 28 of 67
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                                                    2019 U.S. Dist. LEXIS 160224, *2


                                                                         Court      recounts     only   those   facts   necessary     for
issue to be tried." Local Civ. R. 56.1(b). "If the opposing party .      consideration of the instant Motion.
. . fails to controvert a fact set forth in the movant's Rule 56.1
statement, that fact will be deemed admitted pursuant to the
local rule." Baity v. Kralik, 51 F. Supp. 3d 414, 418 (S.D.N.Y.          1. Assault and Medical Treatment
2014) (citation and quotation marks omitted); see also T.Y. v.
                                                                         On September 15, 2015, Plaintiff was an inmate at
N.Y. City Dep't of Educ., 584 F.3d 412, 418 (2d Cir. 2009)
(same). "A pro se litigant is not excused from this rule."
                                                                         Sullivan, a prison managed by the New York State

Brandever v. Port Imperial Ferry Corp., No. 13-CV-2813, 2014             Department of Correction and Community Supervision
U.S. Dist. LEXIS 36844, 2014 WL 1053774, at *3 (S.D.N.Y.                 ("DOCCS"). (Defs.' 56.1 ¶ 1; Compl. 2.)2 At about 2:15
Mar. 13, 2014) (citation and italics omitted).                           p.m. that day, Plaintiff was returning to his housing unit
                                                                         when he was stopped by Sergeant LeConey, a non-
Here, Defendants filed and served their 56.1 Statement, in
addition to a statement notifying Plaintiff of the potential             party prison official, and placed in handcuffs on the

consequences of not responding to the Motion, as required by             ground that a weapon — later identified as an ice pick
Local Rule 56.2. (Dkt. Nos. 95, 96.) Plaintiff failed to submit a        — had been found in his cell. (Defs.' 56.1 ¶ 4; Compl. 5;
response to the 56.1 Statement. Nevertheless, in light of the            Deposition of Lionel King ("King Dep.") 42-44 (Dkt. No.
"special solicitude" afforded to pro se litigants "when                  72-5).) Plaintiff immediately believed that he "was being
confronted with motions for summary judgment," Graham v.                 set-up in retaliation for numerous complaints and
Lewinski, 848 F.2d 342, 344 (2d Cir. 1988), the Court will "in
                                                                         grievances [he] had lodged against officers assigned to
its discretion opt to conduct an assiduous review of the
record," Holtz v. Rockefeller & Co., 258 F.3d 62, 73 (2d Cir.
2001) (citation and quotation marks omitted), to determine if
                                                                         (citation and italics omitted), where a plaintiff "verifie[s] his
any admissible facts in the Complaint or record contradict
                                                                         complaint by attesting under penalty of perjury that the
Defendants' 56.1 Statement, see Houston v. Teamsters Local
                                                                         statements in the complaint [are] true to the best of his
210, Affiliated Health & Ins. Fund-Vacation Fringe Ben. Fund,
                                                                         knowledge," the "verified complaint is to be treated as an
27 F. Supp. 3d 346, 349 (E.D.N.Y. 2014) ("Although [the]
                                                                         affidavit for summary judgment purposes," Colon v. Coughlin,
plaintiffs did not file a Rule 56.1 statement, the Court has
                                                                         58 F.3d 865, 872 (2d Cir. 1995). Here, the Complaint includes
independently reviewed the record to ensure that there is
                                                                         a signed and dated verification page stating that Plaintiff
uncontroverted evidence to support the paragraphs referenced
                                                                         declares the contents of those filings to be true under the
in [the] defendants' Rule 56.1."); Pagan v. Corr. Med. Servs.,
                                                                         penalty of perjury. (Compl. 10.) The Court will thus consider all
No. 11-CV-1357, 2013 U.S. Dist. LEXIS 140112, 2013 WL
                                                                         admissible facts set forth in the Complaint that are based on
5425587, at *2 (S.D.N.Y. Sept. 27, 2013) (explaining that "[t]he
                                                                         Plaintiff's personal knowledge and about which Plaintiff is
[c]ourt ha[d] considered the [motions for summary judgment] in
                                                                         competent to testify. See Lebron v. Mrzyglod, No. 14-CV-
light of the entirety of the record to afford [the pro se] [p]laintiff
                                                                         10290, 2019 U.S. Dist. LEXIS 120020, 2019 WL 3239850, at
the special solicitude to which he [was] entitled" where the
                                                                         *1 n.3 (S.D.N.Y. July 18, 2019) (collecting cases in which
plaintiff failed to submit a Rule 56.1 response (citation
                                                                         courts have considered admissible facts set forth in a pro se
omitted)).
                                                                         plaintiff's complaint in deciding a motion for summary
                                                                         judgment).
Further, although "a plaintiff's pro se status does not allow him
to   rely    on   conclusory    allegations    or    unsubstantiated     2 Plaintiff's   filings lack consistent pagination. For ease of
speculation to overcome a motion for summary judgment,"                  reference, the Court cites to the ECF-generated page
Almonte v. Florio, No. 02-CV-6722, 2004 U.S. Dist. LEXIS                 numbers at the top of each page when citing Plaintiff's
335, 2004 WL 60306, at *3 n.10 (S.D.N.Y. Jan. 13, 2004)                  submissions.
          Case 9:20-cv-00622-LEK-ATB Document 63-1 Filed 12/02/21 Page 29 of 67
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                                              2019 U.S. Dist. LEXIS 160224, *2


the block." (Compl. 5.) Plaintiff was escorted to the "draft    "ben[ding] [his] wrist in a way to cause pain to shoot up
room" by LeConey, Defendant Daddezio, and others.               into [his] shoulder." (Compl. 6; King Dep. 73-76.)
(Id.; King Dep. 45-46.) [*3] While in the draft room,           Puershner and Barlow then "held [Plaintiff] down" and
Plaintiff "was made to stand facing a wall with two             "began ripping off [his] cloth[e]s," including his pants
[unnamed] officers [on] either side threat[en]ing to harm       and "jockstrap," thus causing Plaintiff to "fear[] [that he]
[him] if [he] did not" stay quiet. (Compl. 5.) Plaintiff, who   was about to be sexually assaulted." (Compl. 6.) Yet,
wears a pacemaker, "began having chest pains," and              Plaintiff also alleges, "[h]owever, after [his] cloth[e]s
his "knees gave out due to . . . being forced to stand          were removed," Barlow, Puershner, and Mokowksi "left
facing a wall for a long period of time." (Id.; Defs.' 56.1 ¶   the room." (Id.)
5.)
                                                                On September 16, 2015, Plaintiff awoke in the infirmary
Plaintiff was thereafter "moved from the draft room to          with pain and [*5] bruises "all over [his] body." (Defs.'
the infirmary" by Defendants Barlow, Puershner, and             56.1 ¶ 8; Compl. 6; see also id. at 4 (further describing
Mokowski. (Compl. 5; King Dep. 62.) Upon arrival in the         Plaintiff's alleged injuries).) At about 8:00 a.m., Nurse
infirmary, they were met by Defendant Slater. (Compl.           Chiocchi "came to the unit," and Plaintiff told her that he
5.) Plaintiff, who was still handcuffed, was placed in a        was assaulted. (Defs.' 56.1 ¶ 9; Compl. 6.) However,
chair, whereupon Slater "placed his booted foot in the          despite Plaintiff's "vis[i]ble bruises and swelling," Nurse
center of [Plaintiff's] chest and pushed [him] backward         Chiocchi "provided no medical attention." (Compl. 6.)
out of the chair." (Compl. 5; King Dep. 63-64.) Plaintiff       According to Nurse Chiocchi, however, she "did not
was "dragged to [his] feet by" Puershner and Mokowski,          observe any visible injuries" and, Plaintiff "refused
placed on a gurney, and choked "for a few seconds."             breakfast and so [she] decided in [her] professional
(Compl. 5; King Dep. 64-67.) Plaintiff was "slapped in          medical judgment to hold the insulin until he decided to
the face twice by . . . Daddezio." (Compl. 5.) Barlow "did      eat," and Plaintiff "accepted his other medications."
nothing to stop the" assault. (Id. at 5-6.)                     (Decl. of Carol Chiocchi, R.N. ("Chiocchi Decl.") ¶ 4
                                                                (Dkt. No. 72-3).)
Plaintiff was then seen by a nurse, who did not provide
him with "medical attention other than [taking his] blood       At about 10:00 a.m., Lieutenant Maxwell ("Maxwell"),
pressure," after which [*4] he was escorted to the Office       not a party to this case, came to the infirmary and asked
of Mental Health ("OMH") "to be placed on suicide               Plaintiff about the weapon allegedly found in his cell.
watch," even though Plaintiff never "indicate[d] to             (Defs.' 56.1 ¶ 9; Compl. 6.; King Dep. 43-44, 80.)
anyone that [he] was going to hurt [him]self." (Id. at 6;       Plaintiff told Maxwell that he was being set up and that
Defs.' 56.1 ¶ 7.) While in an elevator being escorted to        he was assaulted by prison officials. (Defs.' 56.1 ¶ 10;
OMH, Plaintiff "was hit in the back of the head" by             Compl. 6.) Maxwell ordered a medical assessment.
Puershner and/or Barlow, causing him to fall to his             (Defs.' 56.1 ¶ 10; Compl. 6.)
knees. (Compl. 6; King Dep. 70-71.) He was "dragged
                                                                At about 10:30 a.m., Nurse Chiocchi conducted a
by the legs" out of the elevator, "which caused the right
                                                                medical assessment and administered [*6] Tylenol to
side of [his] head to hit the floor." (Compl. 6; King Dep.
                                                                Plaintiff. (Defs.' 56.1 ¶¶ 11-12; Compl. 4; King Dep. 82-
71-72.) When Plaintiff was lifted up, Puershner and
                                                                91; Chiocchi Decl. ¶ 5.) Plaintiff alleges that Nurse
Barlow took him to a room used "for one-to-one [mental
                                                                Chiocchi "knew or should have known that" he could not
health] monitoring" and removed his handcuffs by
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take Tylenol "because of the other medication [he] was           until [he] got up [in the morning]." (Defs.' Mem. Ex. G, at
taking" for his heart." (Compl. 4.) However, according to        10.) On October 23, 2015, the Sullivan superintendent
Nurse Chiocchi, "Tylenol was prescribed because it               issued a decision stating:
does not interact with cardiac medications." (Chiocchi
                                                                       Grievance 22716-15 was investigated by several
Decl. ¶ 5.) Indeed, Plaintiff acknowledges that Tylenol
                                                                       security supervisors and medical staff and found to
was the only medication he could receive. (King Dep.
                                                                       be without merit. Security staff have gone on written
91.)
                                                                       record denying any type of misconduct. Medical
Separately, Plaintiff alleges that Nurse Chiocchi "made                staff have found minor injuries on grievant which
false statement[s] in the [a]mbulatory report, averring                are not indicative of being assaulted but rather from
that there [was] no swellin[g] or bruising," (Compl. 4),               continuously [*8] dropping to his knees when being
and that photographs taken by Officer Favre, a non-                    restrained and ordered to walk. Grievant had to
party to this case, contradict the report, (id.).                      keep being assisted back to his feet.

Finally, Plaintiff alleges that, at about 10:45 a.m.,            (Id. at 12.) Defendants state that the decision was
Defendants Beach and Stauch, along with Puershner,               delivered to Plaintiff and that no appeal was taken.
escorted Plaintiff to the Special Housing Unit. (Compl.          (Defs.' 56.1 ¶¶ 18-19.) In particular, according to
4.) Plaintiff requested a wheelchair, but they refused           Rachael Seguin ("Seguin"), a DOCCS record custodian,
and "drag[ged] [Plaintiff] out of the room" and "forced          and Corey J. Proscia, Jr. ("Proscia"), a grievance
[him] to walk." (Id.)                                            supervisor at Sullivan, there is no record that Plaintiff
                                                                 appealed the decision. (Decl. of Rachael Seguin
                                                                 ("Seguin Decl.") ¶ 6 (Dkt. No. 72-1); Decl. of Corey J.
2. Grievances
                                                                 Proscia, Jr. ("Proscia Decl.") ¶¶ 6, 9 (Dkt. No. 72-2).)
Subsequent to these events, Plaintiff filed three                Further,    the   "appeal    statement"   portion   of     the
grievances. (Defs.' 56.1 ¶ 14; Compl. 7; King Dep. 101.)         superintendent's decision, which is blank, also indicates
All three [*7] grievances were assigned a "code 49,"             that Plaintiff did not file an appeal. (Defs.' Mem. Ex. G,
which indicates an allegation of staff misconduct, and           at 12.) Plaintiff contends that he "never" received a
thus sent directly to the Sullivan superintendent for            "reply back from the grievance supervisor and . . . did
investigation. (Defs.' 56.1 ¶ 15; Proscia Decl. ¶ 5.)            not know what to do." (June 19, 2019 Letter from Lionel
                                                                 King to Court (Dkt. No. 103).) Plaintiff also alleges that
The first grievance, SUL-22176-15, dated September
                                                                 copies of the first grievance were sent to the DOCCS
29, 2015, describes many of the facts alleged above,
                                                                 Inspector General, the DOCCS Commissioner, the
and in particular alleges that Puershner and Stauch
                                                                 "Prison Legal Service," and the "Prisoner Rights
physically assaulted Plaintiff and that an unnamed nurse
                                                                 Project." (Compl. 8.)
failed to treat Plaintiff's complaints of pain. (Defs.' 56.1 ¶
16; Defs.' Mem. Ex. G, at 10-11 (first grievance) (Dkt.          The     second     grievance,     SUL-22158-15,          dated
No. 72-7).) It also alleges that Plaintiff "t[h]ought            September [*9] 30, 2015, alleges that on September
[Puershner] was going to rape [him] because they                 15, 2015, Daddezio slapped Plaintiff on the face. (Defs.'
rip[ped] off [his] un[der]wear [and] slam[med] [him] to          56.1 ¶ 20; Defs.' Mem. Ex. G, at 2-3 (second
the wall" and that he "did not ha[ve] on any cloth[e]s           grievance).) On November 5, 2015, the Sullivan
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superintendent issued a decision finding that Daddezio          successfully filed grievances and fully appealed them to
denied the allegation and that the Plaintiff failed to          the CORC. (Defs.' 56.1 ¶¶ 32-33; Seguin Decl. ¶ 4;
provide additional information or witnesses. (Defs.'            Defs.' Mem. Ex. F (list of fully exhausted grievances)
Mem. Ex. G, at 4.) Defendants state that the decision           (Dkt. No. 72-6).)
was delivered to Plaintiff and that no appeal was taken.
(Defs.' 56.1 ¶¶ 23, 24.) According to Seguin and
                                                                B. Procedural History
Proscia, there is no record that Plaintiff appealed the
grievance. (Seguin Decl. ¶ 6; Proscia Decl. ¶¶ 7, 9.) The       The Complaint was filed on February 22, 2017. (Compl.
"appeal statement" portion of the superintendent's              (Dkt. No. 1).) The Court granted Plaintiff's request to
decision, which is blank, also indicates that Plaintiff did     proceed in forma pauperis ("IFP") [*11] on March 1,
not file an appeal. (Defs.' Mem. Ex. G, at 4.)                  2017. (Dkt. No. 5.) On March 27, 2017, the Court issued
                                                                an order directing service on Defendants. (Dkt. No. 7.)
The third grievance, SUL-22190-15, dated October 5,
                                                                On July 27, 2017, Plaintiff informed the Court that while
2015, alleges that, after Plaintiff was assaulted by
                                                                "his original [C]omplaint named a correctional officer
Daddezio, Puershner, and Stauch, Nurse Chiocchi
                                                                Peach as a defendant," he has since "determined that
failed to provide Plaintiff with adequate medical care.
                                                                the name of the defendant is Beach." (Dkt. No. 20). The
(Defs.' 56.1 ¶ 25; Defs.' Mem. Ex. G, at 5 (third
                                                                Court issued a second Order directing service on
grievance).) On October 19, 2015, the Superintendent
                                                                Beach. (Dkt. No. 21.)
issued a decision finding that Nurse Chiocchi assessed
and treated Plaintiff with Tylenol. (Defs.' Mem. Ex. [*10]      On September 24, 2018, Defendants filed the instant
G, at 9.) Defendants state that the decision was                Motion for Summary Judgment. (Not. of Mot. (Dkt. No.
delivered to Plaintiff and that no appeal was taken.            71); Mem. of Law in Supp. of Mot. ("Defs.' Mem.") (Dkt.
(Defs.' 56.1 ¶¶ 28-29.) According to Seguin and Proscia,        No. 72).) Plaintiff filed a response in opposition on
there is no record that Plaintiff appealed the grievance.       October 15, 2018. (Pl.'s Opp'n to Defs.' Mot. ("Pl.'s
(Seguin Decl. ¶ 6; Proscia Decl. ¶¶ 8-9.) The "appeal           Mem.")    (Dkt.     No.   74).)   On   October   31,   2018,
statement" portion of the superintendent's decision,            Defendants filed a reply. (Reply Mem. of Law in Supp.
which is blank, also indicates that Plaintiff did not file an   of Mot. ("Defs.' Reply") (Dkt. No. 75).)
appeal. (Defs.' Mem. Ex. G, at 9.)
                                                                On May 1, 2019, Defendants belatedly filed the required
In his deposition, when asked whether he fully appealed         notice for pro se litigants pursuant to Local Civil Rule
his grievances, Plaintiff testified:                            56.2, (Dkt. No. 95), and statement of material facts
     Q: And after you got no results, did you file a            pursuant to Local Civil Rule 56.1, (Defs.' 56.1 (Dkt. No.
     grievance or grieve to the superintendent?                 96)). In light of this belated filing, on June 10, 2019, the
     A: I can't remember.                                       Court issued an Order granting Plaintiff the opportunity
     Q: Did you file to the CORC?                               to file a second response in opposition to the Motion by
     A: I believe I wr[o]te to them. I wr[o]te to Ms.           July 12, 2019. (Dkt. [*12] No. 102.) Plaintiff did not file a
     Bellamy concerning the grievance. And I don't              second memorandum in response. Rather, on June 25,
     remember.                                                  2019, the Court received a letter from Plaintiff, dated
(King Dep. 103.) In some 48 other instances unrelated           June 19, 2019, stating that, "when [he] file[d] the
to the allegations at issue in this Action, Plaintiff           grievance" regarding Puershner, Beach, Barlow, and
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Nurse Chiocchi, he "never" received a "reply back from        with admissible evidence sufficient to raise a genuine
the grievance supervisor and . . . did not know what to       issue of fact for trial in order to avoid summary
do." (June 19, 2019 Letter from Lionel King to Court          judgment." CILP Assocs., L.P. v. Pricewaterhouse
(Dkt. No. 103).) On August 6, 2019, the Court issued an       Coopers LLP, 735 F.3d 114, 123 (2d Cir. 2013) (citation,
Order deeming the Motion fully submitted. (Dkt. No.           alteration, and quotation marks omitted). Further, "[t]o
104.) On August 27, 2019, the Court received an               survive a [summary judgment] motion," the nonmovant
undated letter from Plaintiff reiterating the allegations     must "create more than a 'metaphysical' possibility that
made in the Complaint and further alleging a claim of         his allegations were correct; he need[s] to 'come forward
sexual assault. (Aug. 27, 2019 Letter from Lionel King to     with specific facts showing that there is a genuine issue
Court ("August 27, 2019 King Letter") (Dkt. No. 105).)        for trial,'" Wrobel v. County of Erie, 692 F.3d 22, 30 (2d
On August 29, 2019, Plaintiff filed a letter attaching the    Cir. 2012) (emphasis omitted) (quoting Matsushita Elec.
letter previously docketed at Dkt. No. 103. (Dkt. No.         Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87,
106.)                                                         106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986)), "and cannot
                                                              rely on the mere allegations or denials contained in the
                                                              pleadings," Guardian Life Ins. Co. v. Gilmore, 45 F.
II. Discussion
                                                              Supp. 3d 310, 322 (S.D.N.Y. 2014) (quotation marks
                                                              omitted); see also Wright v. Goord, 554 F.3d 255, 266
A. Standard of Review                                         (2d Cir. 2009) ("When a motion for summary judgment
                                                              is properly [*14]   supported by documents or other
Summary judgment is appropriate where the movant
                                                              evidentiary materials, the party opposing summary
shows that "there is no genuine dispute as to any
                                                              judgment may not merely rest on the allegations or
material fact and the movant is entitled to judgment as a
                                                              denials of his pleading . . . ."). And, "[w]hen opposing
matter of law." Fed. R. Civ. P. 56(a); see also Psihoyos
                                                              parties tell two different stories, one of which is blatantly
v. John Wiley & Sons, Inc., 748 F.3d 120, 123-24 (2d
                                                              contradicted by the record, so that no reasonable jury
Cir. 2014) (same). "In determining whether summary
                                                              could believe it, a court should not adopt that version of
judgment is appropriate," a court [*13] must "construe
                                                              the facts for purposes of ruling on a motion for summary
the facts in the light most favorable to the non-moving
                                                              judgment." Scott v. Harris, 550 U.S. 372, 380, 127 S. Ct.
party and . . . resolve all ambiguities and draw all
                                                              1769, 167 L. Ed. 2d 686 (2007).
reasonable inferences against the movant." Brod v.
Omya, Inc., 653 F.3d 156, 164 (2d Cir. 2011) (quotation       "On a motion for summary judgment, a fact is material if
marks omitted). "It is the movant's burden to show that       it might affect the outcome of the suit under the
no genuine factual dispute exists." Vt. Teddy Bear Co. v.     governing law." Royal Crown Day Care LLC v. Dep't of
1-800 Beargram Co., 373 F.3d 241, 244 (2d Cir. 2004).         Health & Mental Hygiene, 746 F.3d 538, 544 (2d Cir.
                                                              2014) (citation and quotation marks omitted). At this
"However, when the burden of proof at trial would fall on
                                                              stage, "[t]he role of the court is not to resolve disputed
the nonmoving party, it ordinarily is sufficient for the
                                                              issues of fact but to assess whether there are any
movant to point to a lack of evidence to go to the trier of
                                                              factual issues to be tried." Brod, 653 F.3d at 164
fact on an essential element of the nonmovant's claim,"
                                                              (quotation marks omitted). Thus, a court's goal should
in which case "the nonmoving party must come forward
                                                              be "to isolate and dispose of factually unsupported
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claims." Geneva Pharms. Tech. Corp. v. Barr Labs.,           of Am., 723 F.3d 399, 403 (2d Cir. 2013) (quoting
Inc., 386 F.3d 485, 495 (2d Cir. 2004) (quotation marks      Triestman v. Fed. Bureau of Prisons, 470 F.3d 471, 474
omitted) (quoting Celotex Corp. v. Catrett, 477 U.S. 317,    (2d Cir. 2006)). "Nonetheless, proceeding pro se does
323-24, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986)).           not otherwise relieve a litigant of the usual requirements
However, a district court should consider only evidence      of summary judgment, and a pro se party's bald
that would be admissible at trial. See Nora Bevs., Inc. v.   assertions unsupported by evidence . . . are insufficient
Perrier Group of Am. Inc., 164 F.3d 736, 746 (2d Cir.        to overcome a motion for summary judgment." [*16]
1998). "[W]here a party relies on affidavits . . . to        Houston, 27 F. Supp. 3d at 351 (citations, alterations,
establish facts, the statements 'must be made on             and quotation marks omitted).
personal knowledge, set out facts that would be
admissible in evidence, and show that the affiant . . .
                                                             B. Analysis
is [*15] competent to testify on the matters stated.'"
DiStiso v. Cook, 691 F.3d 226, 230 (2d Cir. 2012)            Defendants seek dismissal of the Complaint in its
(quoting Fed. R. Civ. P. 56(c)(4)).                          entirety on the ground that Plaintiff has failed to exhaust
                                                             his administrative remedies pursuant to the Prison
As a general rule, "district courts may not weigh
                                                             Litigation Reform Act ("PLRA"), 42 U.S.C. § 1997e et
evidence or assess the credibility of witnesses at the
                                                             seq. (See Defs.' Mem. 9-15.) Defendants additionally
summary judgment stage." Jeffreys v. City of New York,
                                                             seek dismissal on the merits as to Plaintiff's inadequate
426 F.3d 549, 551 (2d Cir. 2005); see also Vital v.
                                                             medical care claim against Nurse Chiocchi. (Id. at 16-
Interfaith Med. Ctr., 168 F.3d 615, 622 (2d Cir. 1999)
                                                             23.) Defendants do not seek dismissal on the merits as
("Assessments of credibility and choices between
                                                             to Plaintiff's assault claim. (Id. at 1 n.2, 4 nn.4-5.) The
conflicting versions of the events are matters for the
                                                             Court   addresses    each    argument     to   the     extent
jury, not for the court on summary judgment." (quotation
                                                             necessary.
marks omitted)). Where the evidence presents "a
question of 'he said, she said'" the court "cannot . . .
take a side at the summary judgment stage." Fincher v.       1. Applicable Law

Depository Trust & Clearing Corp., 604 F.3d 712, 726
                                                             The PLRA provides that "[n]o action shall be brought
(2d Cir. 2010). Even where a plaintiff's "evidence may
                                                             with respect to prison conditions under [§] 1983 of this
be thin, [his] own sworn statement is adequate to
                                                             title, or any other Federal law, by a prisoner confined in
counter summary judgment." Scott v. Coughlin, 344
                                                             any jail, prison, or other correctional facility until such
F.3d 282, 290-91 (2d Cir. 2003).
                                                             administrative   remedies     as    are    available     are

Finally, the Second Circuit has instructed that when a       exhausted." 42 U.S.C. § 1997e(a). This "language is

court considers a motion for summary judgment,               'mandatory': An inmate 'shall' bring 'no action' (or said

"special solicitude" should be afforded a pro se litigant,   more conversationally, may not bring any action) absent

Harris v. Miller, 818 F.3d 49, 57 (2d Cir. 2016), and a      exhaustion of available administrative remedies." Ross

court "'must . . . construe[]" the pro se litigant's         v. Blake, 136 S. Ct. 1850, 1856, 195 L. Ed. 2d 117
submissions "liberally and interpret[] [them] to raise the   (2016) (citation omitted). The exhaustion requirement
strongest arguments that they suggest.'" Sykes v. Bank       applies to "all inmate suits about prison life," Porter v.
                                                             Nussle, 534 U.S. 516, 532, 122 S. Ct. 983, 152 L. Ed.
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2d 12 (2002), and includes actions for monetary              advantage of a grievance process through machination,
damages even if monetary damages [*17]           are not     misrepresentation, or intimidation." Id. at 1859-60. It
available as an administrative remedy, see Booth v.          bears noting, however, that the "three circumstances
Churner, 532 U.S. 731, 741, 121 S. Ct. 1819, 149 L. Ed.      discussed in Ross do not appear to be exhaustive,"
2d 958 (2001). Moreover, the PLRA "requires proper           Williams, 829 F.3d at 123-24 & n.2, but rather "guide the
exhaustion, which means using all steps that the prison      Court's inquiry," Khudan v. Lee, No. 12-CV-8147, 2016
grievance system holds out." Williams v. Priatno, 829        U.S. Dist. LEXIS 122217, 2016 WL 4735364, at *5
F.3d 118, 122 (2d Cir. 2016) (citations, alteration, and     (S.D.N.Y. Sept. 8, 2016).
quotation marks omitted). Indeed, the PLRA demands
"strict compliance with the grievance procedure . . . , or
                                                             2. Applicable Grievance Program
else dismissal must follow inexorably." McCoy v. Goord,
255 F. Supp. 2d 233, 246 (S.D.N.Y. 2003) (citations,         The grievance program applicable here is the DOCCS
alteration, and quotation marks omitted); see also Mateo     Inmate Grievance Program ("IGP"). See 7 N.Y.C.R.R. §
v. Alexander, No. 08-CV-8797, 2010 U.S. Dist. LEXIS          701 et seq. The IGP generally provides for a three-step
11270, 2010 WL 431718, at *3 (S.D.N.Y. Feb. 9, 2010)         grievance process. At the first step, an inmate submits a
("When a prisoner does not properly exhaust his              written grievance to the Inmate Grievance Review
administrative remedies before filing suit, the action       Committee ("IGRC"), which attempts to resolve the
must be dismissed." (citing Burgos v. Craig, 307 F.          issue "informally," and if there is no resolution,
App'x 469, 470 (2d Cir. 2008))).                             "conduct[s] a hearing to answer the grievance or make a
                                                             recommendation to the superintendent." Id. § 701.5(b).
However, the PLRA contains a "textual exception to
                                                             If the IGRC's determination is adverse to the inmate, at
mandatory exhaustion." Ross, 136 S. Ct. at 1858. "[T]he
                                                             the second step the inmate appeals to the prison
exhaustion requirement hinges on the 'availab[ility]' of
                                                             superintendent. See id. [*19] § 701.5(c). And if the
administrative remedies: An inmate . . . must exhaust
                                                             superintendent's determination is adverse to the inmate,
available remedies, but need not exhaust unavailable
                                                             at the third and final step the inmate appeals to the
ones." Id. Available "grievance procedures . . . are
                                                             Central Office Review Committee ("CORC"). See id. §
[those] capable of use to obtain some relief for the
                                                             701.5(d). "[O]nly after CORC has reviewed the appeal
action complained of." Id. at 1859 (citation and quotation
                                                             and rendered a decision are New York's grievance
marks omitted). In Ross, the Supreme Court identified
                                                             procedures exhausted." Gardner v. Daddezio, No. 07-
"three kinds of circumstances in which an administrative
                                                             CV-7201, 2008 U.S. Dist. LEXIS 92715, 2008 WL
remedy, although officially on the books, is not capable
                                                             4826025, at *2 (S.D.N.Y. Nov. 5, 2008). That is, only
of use to obtain relief." Id. An administrative remedy is
                                                             after completing all three steps of the IGP may an
unavailable: (1) where [*18] "it operates as a simple
                                                             inmate initiate suit, see Ross, 136 S. Ct. at 1856;
dead end — with officers unable or consistently
                                                             Williams, 829 F.3d at 122, provided no exception to
unwilling to provide any relief to aggrieved inmates"; (2)
                                                             exhaustion applies.
where the procedure is "so opaque that it becomes,
practically speaking, incapable of use" such that "no        However, grievances claiming harassment by prison
ordinary prisoner can discern or navigate it"; or (3)        officials "are of particular concern to the administration
where "prison administrators thwart inmates from taking      of [DOCCS] facilities," and subject to an expedited
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procedure whereby the grievance goes directly to the                     sexual abuse or sexual harassment reported
facility superintendent. 7 N.Y.C.R.R. § 701.8. The                       the incident to facility staff; in writing to Central
superintendent "shall promptly determine whether the                     Office Staff; to any outside agency that the
grievance, if true, would represent a bona fide case of                  Department has identified as having agreed to
harassment," id. § 701.8(c), namely, a "grievance[] that                 receive    and          immediately     forward    inmate
allege[s]    employee     misconduct     meant   to    annoy,            reports     of      sexual       abuse      and       sexual
intimidate or harm an inmate," id. § 701.2(e). If it is not              harassment to agency officials under the PREA
determined to be a bona fide case of harassment, the                     . . . ; or to the Department's Office of the
grievance     is   returned   to   the   IGRC    for   normal            Inspector General; or
processing. Id. § 701.8(c). If it is a bona fide harassment
                                                                         (2) a third party reported that an inmate is the
issue, however, the superintendent must then initiate or
                                                                         victim of sexual abuse and the alleged victim
request an investigation, id. § 701.8(d), and render a
                                                                         confirmed [*21]            the        allegation       upon
decision within 25 calendar days, id. § 701.8(f). If the
                                                                         investigation.
superintendent's decision is adverse to the grievant, or if
                                                                    A sexual abuse or sexual harassment complaint
the superintendent fails to timely render a decision, the
                                                                    may be submitted at any time . . . . Acceptance of a
grievant may appeal to the CORC. Id. §§ 701.8(g), (h).
                                                                    late complaint does not waive the applicable statute
Finally, where an inmate complains of sexual abuse or               of limitations with respect to any related lawsuit.
harassment, "the exhaustion requirement . . . is different          Any inmate grievance filed regarding a complaint of
than that for other types of complaints." Sheffer v.                sexual       abuse      or     sexual      harassment       shall
Fleury, No. 18-CV-1180, 2019 U.S. Dist. LEXIS 139742,               immediately be reported by the IGP Supervisor to
2019 WL 3891143, at *3 (N.D.N.Y. Aug. 19, 2019).                    the Watch Commander for further handling in
DOCCS Directive 4040, revised in May 2014, [*20]                    accordance       with        Departmental      policies.     The
provides in relevant part:                                          complaint shall be deemed exhausted upon filing
                                                                    for PLRA purposes. If the grievance does not set
    The Department has zero tolerance for sexual
                                                                    forth any additional matters that require a response,
    abuse and sexual harassment. Consistent with this
                                                                    the grievance shall be closed.
    policy and the Prison Rape Elimination Act (PREA)
    Standards (28 C.F.R. § 115.52(a)), an inmate is not         7 N.Y.C.R.R. § 701.3(i); see also Sheffer, 2019 U.S.
    required to file a grievance concerning an alleged          Dist. LEXIS 139742, 2019 WL 3891143, at *3 (same).
    incident of sexual abuse or sexual harassment to
    satisfy the [PLRA] exhaustion requirement . . .
                                                                3. Application
    before bringing a lawsuit regarding an allegation of
    sexual abuse as long as the matter was reported as
    set forth below. For purposes of the [PREA] . . . and       a. Claims of Physical Assault and Inadequate Medical
    the      exhaustion    requirement,    any     allegation   Care
    concerning an incident of sexual abuse or sexual
                                                                Plaintiff's Complaint alleges that he was repeatedly
    harassment . . . shall be deemed exhausted if
                                                                physically assaulted by Sullivan correction officers,
    official documentation confirms that:
                                                                causing him injury, and was thereafter provided with
            (1) an inmate who alleges being the victim of
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inadequate medical care by Nurse Chiocchi. (See                      6557, 2018 U.S. Dist. LEXIS 155399, 2018 WL
generally Compl.) Because these claims allege staff                  4354212, at *4 (W.D.N.Y. Sept. 12, 2018) (noting that
misconduct, they are governed by the expedited                       "decisions in this circuit have repeatedly held that
exhaustion process set out in 7 N.Y.C.R.R. § 701.8. It is            complaint letters to the DOCCS commissioner or the
undisputed that Plaintiff filed three grievances relating to         facility superintendent do not satisfy the PLRA's
the allegations contained in the Complaint. (See Defs.'              exhaustion requirements" (citation and quotation marks
Mem. [*22] Ex. G, at 10 (first grievance); id. at 2                  omitted) (collecting cases)); see also Kearney v. Gebo,
(second grievance); id. at 5 (third grievance); see also             713 F. App'x 39, 42 (2d Cir. 2017) (holding that the
Compl. 7 (indicating that Plaintiff filed a grievance); King         plaintiff's "pursuit of alternative relief from the Inspector
Dep. 101 (stating that Plaintiff filed grievances relating           General's Office and Commission of Correction did not .
to the allegations at issue here).) It is also undisputed            . . excuse[] [him] from complying with th[e] ordinary
that these grievances were referred to the Sullivan                  [inmate   grievance]    procedures").    The   Court    thus
superintendent,    (Proscia       Decl.   ¶   5),   who     found    concludes that there is no genuine dispute of material
adversely to Plaintiff in each case, (see Defs.' Mem. Ex.            fact that, as to Plaintiff's claims of physical assault and
G, at 12 (decision denying first grievance); id. at 4                inadequate medical care, Plaintiff did not fully exhaust
(decision denying second grievance); id. at 9 (decision              his administrative remedies [*24] as mandated by the
denying third grievance)). Finally, the Court concludes              PLRA.
that there is no genuine dispute that Plaintiff failed to file
                                                                     In response, Plaintiff does not argue that he did in fact
an appeal to the CORC as to any of the three
                                                                     satisfy the exhaustion requirements set out in 7
grievances.     Although      Plaintiff   testified      that   he
                                                                     N.Y.C.R.R. § 701.8. (See generally Pl.'s Mem.) Rather,
"believe[s]" he wrote to CORC, (King Dep. 103), he
                                                                     Plaintiff argues that was sexually assaulted and,
failed to explain the basis for that testimony and, further,
                                                                     therefore, that he was subject only to the more limited
twice stated that he "can't remember" if he did so, (id.).
                                                                     exhaustion requirements of DOCCS Directive 4040,
Moreover, the record evidence strongly indicates that
                                                                     which he alleges he satisfied. (Id.) The Court addresses
Plaintiff did not file an appeal to the CORC, (see Seguin
                                                                     this issue infra Section II.B.3.b.
Decl. ¶ 6 ("CORC does not have a record that Plaintiff
appealed [the relevant] grievance numbers . . . to                   Focusing on Plaintiff's claims of physical assault and
CORC.");      Proscia    Decl.    ¶   9   ("Sullivan's     Inmate    inadequate medical care, the only remaining question is
Grievance office has no record of any appeal [*23] by                whether there is a genuine dispute of material fact that
Plaintiff of the denial of [the relevant] grievances . . . .");      an exception to the exhaustion requirement applies.
Defs.' Mem. Ex. G, at 4, 9, 12 (blank "appeal statement"             Here, there is no record evidence that the IGP is a
as to each denial of grievance by the superintendent).)              "simple dead end" and "unable" to provide relief to
And while Plaintiff alleges that he wrote letters of                 Plaintiff, Ross, 136 S. Ct. at 1859, or that it is "so
complaint to the DOCCS Inspector General, the                        opaque that it" is "incapable of use" such that "no
DOCCS Commissioner, the Justice Department, the                      ordinary prisoner can discern or navigate it," id. As
"Prison Legal Service," and the "Prisoner Rights                     Defendants point out, Plaintiff properly adhered to the
Project," (Compl. 8), it is clear that complaints to outside         IGP's exhaustion requirements in some 48 other
entities   do   not     satisfy    the    PLRA's      exhaustion     instances, both before and after the grievances at issue
requirements. See McGowan v. Schuck, No. 12-CV-                      in this Action, in which he filed grievances and fully
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appealed them to the CORC. (Seguin Decl. ¶ 4; Defs.'               F. Supp. 3d at 517 (citations omitted); see also Parker v.
Mem. Ex. F (list of fully exhausted grievances).) See              McIntyre, No. 11-CV-865, 2014 U.S. Dist. LEXIS
Davis v. Grant, No. 15-CV-5359, 2019 U.S. Dist. LEXIS              151983, 2014 WL 5432153, at *3 (W.D.N.Y. Oct. 27,
20989, 2019 WL 498277, at *8 (S.D.N.Y. Feb. 8, 2019)               2014) ("Courts repeatedly have dismissed complaints . .
(holding [*25] that there was no dispute of fact as to             . when an inmate confronted with facility inaction fails to
whether the grievance process was "available" to the               proactively grieve a claim to completion." (quotation
plaintiff where he "successfully used the IGP, filing eight        marks omitted) (collecting cases)); 7 N.Y.C.R.R. §
grievances while at [the relevant facility] between 2014           701.8(g) ("If the superintendent fails to respond within
and 2017, appealing 39 grievances to CORC since he                 the required 25 calendar day time limit the grievant may
has been in prison, and having served as a grievance               appeal his/her grievance to CORC."); cf. Terry v. Hulse,
representative himself" (citations omitted)); Mckinney v.          No. 16-CV-252, 2018 U.S. Dist. LEXIS 168800, 2018
Prack, 170 F. Supp. 3d 510, 516-17 (W.D.N.Y. 2016)                 WL 4682784, at *9 (S.D.N.Y. Sept. 28, 2018) (holding
(holding that there was no dispute of fact as to whether           that there existed a dispute of material fact as to
the grievance process was "available" to the plaintiff             whether the grievance process was "available" to the
where the record showed that he "appealed and                      plaintiff where the plaintiff "consistently alleged" that "he
exhausted approximately 20 grievances during his 29                wrote at least three grievances" and "gave those [*27]
years of incarceration"). Plaintiff argues in response that        grievances to officers to file for him," where he "testified
he "never" received a "reply back from the grievance               that he kept a copy" but that "his property was either
supervisor and . . . did not know what to do," (June 19,           destroyed or taken," and where he later "filed another
2019 Letter from Lionel King to Court), but this                   grievance regarding the unanswered grievances"). Nor
conclusory and self-serving argument is both denied by             is there any indication in the Complaint, Plaintiff's
Defendants, who have submitted a sworn declaration                 submissions, or the remaining record that Plaintiff was
stating that the superintendent's decisions denying                "thwart[ed]"   from    appealing    the    superintendent's
Plaintiff's grievances were delivered to him, (Proscia             adverse    decisions     because     of   prison    officials'
Decl. ¶¶ 6-9 (stating that the denials were "delivered to          "machination, misrepresentation, . . . intimidation," or
plaintiff as indicated by the diagonal mark on the top             "threat[s]." Ross, 136 S. Ct. at 1860.
right corner" of the page and "were sent to Plaintiff
                                                                   Therefore, the Court concludes that there is no genuine
directly to his cell location [*26] . . . on the date of the . .
                                                                   dispute of material fact (1) that Plaintiff failed to fully
. decision")), and belied by the record, which shows that
                                                                   exhaust his administrative remedies as required by the
Plaintiff   is   intimately    familiar   with    the    IGP's
                                                                   IGP and (2) that no exception to the exhaustion
requirements, (see Defs.' Mem. Ex. F (list of fully
                                                                   requirement applies. See Haywood v. Fuller, No. 18-CV-
exhausted grievances); see also id. Ex. H (example of
                                                                   1097, 2019 U.S. Dist. LEXIS 64956, 2019 WL 1639743,
grievance, filed by Plaintiff in April 2014 while
                                                                   at *6 (N.D.N.Y. Apr. 16, 2019) (granting summary
incarcerated at Sullivan, alleging improper medical care,
                                                                   judgment based on failure to exhaust where the record
that was fully appealed to the CORC).) In any event,
                                                                   showed that the "plaintiff failed to properly appeal his
even assuming that Plaintiff did not receive the
                                                                   grievance to the CORC as required by the IGP"),
superintendent's      decisions      denying      his     three
                                                                   adopted by 2019 U.S. Dist. LEXIS 98491, 2019 WL
grievances, he "could have . . . sought to appeal [them]
                                                                   2442142 (N.D.N.Y. June 12, 2019); Jackson v.
when he did not receive a . . . response." Mckinney, 170
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Downstate Corr. Facility, No. 16-CV-0267, 2018 U.S.             Plaintiff does not identify the individuals allegedly
Dist. LEXIS 128980, 2018 WL 3650136, at *6 (S.D.N.Y.            responsible for the alleged sexual assault, nor does he
July 31, 2018) (holding that the "[p]laintiff's failure to      indicate when or where the alleged sexual assault took
appeal to the CORC constitutes a failure to exhaust his         place. More importantly, these allegations were, as
administrative remedies" (collecting cases)); cf. Terry,        Plaintiff admits, (Pl.'s Mem. 1-2), not raised in the
2018 U.S. Dist. LEXIS 168800, 2018 WL 4682784, at               Complaint. The Complaint alleges, as relevant here,
*7-10 (denying summary judgment based on failure to             only Plaintiff was taken to a room — later clarified as a
exhaust where, although "it [was] undisputed that [the]         room used "for one-to-one [mental health] monitoring"
[p]laintiff [*28] did not complete the requisite three-step     (King Dep. 73) — in which Puershner and Barlow "held
grievance process before filing his lawsuit," there was a       [Plaintiff] down" and "began ripping off [his] cloth[e]s,"
genuine dispute of material fact as to whether an               including his pants and "jockstrap," thus causing Plaintiff
exception to exhaustion applied).                               to "fear[] [that he] was about to be sexually assaulted."
                                                                (Compl. 6.) Yet, Plaintiff then alleges, "[h]owever, after
Accordingly, Defendants' Motion for Summary Judgment
                                                                [his] cloth[e]s were removed," Barlow, Puershner, and
is granted.
                                                                Mokowksi "left the room." (Id.)

                                                                "A party generally may not assert a cause of action for
b. Newly Raised Claim of Sexual Assault
                                                                the first time in response to a summary judgment
As noted, in his memorandum in opposition to                    motion." Simpson v. Town of Warwick Police Dep't, 159
Defendants' Motion, Plaintiff states that he was sexually       F. Supp. 3d 419, 440 (S.D.N.Y. 2016) (citations and
assaulted. In particular, Plaintiff that the "conduct           quotation marks omitted) (collecting cases); see also
described" in the Complaint "was not limited to                 Lyman v. CSX Transp., Inc., 364 Fed. Appx. 699, 701
Defendants 'ripping' off [his] underwear," (Pl.'s Mem. 1-       (2d Cir. 2010) (finding that the district [*30] court did not
2); that unnamed Defendants "stripped [him] and spread          abuse its discretion in declining to consider "new
his legs with Defendant[s] on either side of him," (id. at      theories of liability" raised for the first time in opposition
2); and that "additional Defendants sp[a]t on [his] private     to summary judgment); Mediavilla v. City of New York,
parts before touching his anus with foreign objects,"           259 F. Supp. 3d 82, 106 (S.D.N.Y. 2016) ("Because this
(id.). Plaintiff also states that "sexual assault is not        theory of excessive force is raised for the first time in
something      readily    complained     about      due    to   [the] [p]laintiff's opposition to [the] [d]efendants' motion
embarrassment . . . , but the alleged threat of sexual          for summary judgment, [the Court] need not consider it
assault in this case was actually realized." (Id. at 3.)        here. It is well settled that a litigant may not raise new
Further, in a letter filed after Defendants' Motion was         claims not contained in the complaint in opposition to a
fully submitted, Plaintiff states that his clothes were         motion for summary judgment." (citations omitted)),
ripped off "like if [he] was going to get raped," and that      reconsideration denied, 2017 U.S. Dist. LEXIS 151112,
"both of [his] legs [were] spread so [wide] . . . like          2017 WL 4155401 (S.D.N.Y. Sept. 18, 2017). The rule
if [*29] [he] was going to get fuck[ed] in [his] ass."          is no different for pro se plaintiffs. See Wright v. Jewish
(August 27, 2019 King Letter.)                                  Child Care Ass'n of N.Y., 68 F. Supp. 3d 520, 529
                                                                (S.D.N.Y. 2014) (holding that even pro se plaintiffs may
As   an   initial   matter,   these   allegations   are,   as
                                                                not assert new claims in opposition to a motion for
Defendants point out, (Defs.' Reply 2-3), somewhat thin.
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summary judgment). "However, under Federal Rule of           Defendants attempted to break Plaintiff's wrists and
Civil Procedure 15(b), the Court may consider claims         shoulder).)   The    Court    thus   concludes    that     the
outside those raised in the pleadings 'so long as doing      Complaint's undeveloped allegation of a "feared" sexual
so does not cause prejudice' to defendants." Simpson,        assault,   (Compl.    6),    did   not   reasonably      place
159 F. Supp. 3d at 440 (citing Cruz v. Coach Stores,         Defendants on notice that Plaintiff intended to pursue a
Inc., 202 F.3d 560, 569 (2d Cir. 2000)). "Accordingly, in    sexual assault claim. See Terbush v. Mitchell, No. 15-
contrast to claims that are entirely new, claims that are    CV-1339, 2017 U.S. Dist. LEXIS 22854, 2017 WL
related to or are mere variations of previously pleaded      663198, at *7 (D. Conn. Feb. 17, 2017) (concluding that
claims may be raised on a motion for summary                 newly raised allegations of injuries were not raised in
judgment where the defendant was clearly on notice           the pro se plaintiff's pleadings, and were "referenced
from the complaint and was not unfairly prejudiced." Id.     only in passing during [the] plaintiff's deposition," and,
(citation, quotation marks, and alterations omitted);        therefore, that the "[d]efendant would be prejudiced if
see [*31] also Duling v. Gristede's Operating Corp., 265     the Court were to now consider such a claim"); see also
F.R.D. 91, 99 (S.D.N.Y. 2010) ("Courts also consider         Greenidge v. Allstate Ins. Co., 446 F.3d 356, 361 (2d
the extent to which the new claims are related to the        Cir. 2006) (noting that "the central purpose of a
existing ones and whether a party has had prior notice       complaint is to provide the defendant with notice of the
of a proposed new claim.").                                  claims asserted against it"); cf. Ragusa v. Malverne
                                                             Union Free Sch. Dist., 381 F. App'x 85, 89 (2d Cir.
Here, the Court concludes that the Complaint, even
                                                             2010) ("While [the plaintiff's] complaint might have been
when "construed liberally and interpreted to raise the
                                                             clearer in articulating this [new] theory of retaliation, we
strongest arguments that [it] suggest[s]," Sykes, 723
                                                             conclude that it was sufficient to place defendants on
F.3d at 403 (citation and quotation marks omitted), does
                                                             notice that she intended to pursue such an argument.").
not plausibly allege a claim of sexual assault. Indeed,
the Complaint indicates that a sexual assault did not        Accordingly, the Court will not consider Plaintiff's
occur. (See Compl. 6 ("I feared I was about to be            belatedly raised sexual assault claim at this time, as it
sexually assaulted . . . . However, after my cloth[e]s       "would open up an extensive area of factual inquiry that
were removed the[y] . . . left the room.").) Nor does the    until now had been beyond [*33] the scope of his
Complaint contain any of the factual detail included in      current claims and thus beyond the area in which
Plaintiff's later submissions, such as the allegation that   [D]efendants had any reason to seek discovery."
individuals touched and spat on his genitals. Indeed,        Wesley v. Muhammad, No. 05-CV-5833, 2010 U.S. Dist.
Plaintiff himself appears to acknowledges that the           LEXIS 37154, 2010 WL 1541536, at *3 (S.D.N.Y. Apr.
Complaint does not plead a claim of sexual assault           13, 2010); see Green v. Schmelzle, No. 11-CV-6063,
when he "admit[s] that the physical beating complained       2019 U.S. Dist. LEXIS 154280, 2019 WL 4276994, at *6
of was not limited to Defendants 'ripping' off [his]         (W.D.N.Y. Sept. 10, 2019) (declining to address pro se
underwear." (Pl.'s Mem. 2.) Moreover, the issue of a         plaintiff's newly raised claims in motion for summary
possible sexual asualt was raised only vaguely and in        judgment); Wright, 68 F. Supp. 3d at 529 (same).
passing in Plaintiff's deposition. (See King Dep. 74         However, in light of the "special solicitude" due pro se
(stating only that "they started [*32]     stripping me"     litigants, Harris, 818 F.3d at 57, the Court exercises its
before moving on to focus on Plaintiff's allegations that    discretion to grant Plaintiff an opportunity to amend his
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Complaint (which to this point has not yet been                    For the foregoing reasons, Defendants' Motion for
amended) for the limited purpose of adding a claim of              Summary Judgment is granted. The Court dismisses
sexual assault, should he so choose. See McCarthy v.               Plaintiff's claims of physical assault and inadequate
Dun & Bradstreet Corp., 482 F.3d 184, 200 (2d Cir.                 medical care. Dismissal is with prejudice.
2007) ("[I]t is within the sound discretion of the district
                                                                   The Court grants [*34] Plaintiff an opportunity to amend
court to grant or deny leave to amend."); cf. Cross v.
                                                                   his Complaint to add a claim of sexual assault. Plaintiff
State Farm Ins. Co., 926 F. Supp. 2d 436, 450
                                                                   must file an amended complaint within 30 days of the
(N.D.N.Y. 2013) (denying pro se plaintiff opportunity to
                                                                   date of this Opinion. Plaintiff is advised that the
amend where discovery had closed and, "[a]t this late
                                                                   amended complaint will replace, not supplement, the
date in the proceedings, it would unnecessarily delay
                                                                   instant Complaint. The amended complaint must contain
the action and would be prejudicial to the [d]efendant").
                                                                   all of the factual allegations and exhibits related to the
Should Plaintiff amend, Defendants will have the
                                                                   putative sexual assault claim that Plaintiff wishes the
opportunity to contest the claim and, if necessary, take
                                                                   Court to consider. If Plaintiff fails to abide by the 30-day
discovery.3
                                                                   deadline, Plaintiff will lose his opportunity to amend and
                                                                   Action will be closed.
III. Conclusion
                                                                   The Clerk of the Court is respectfully requested to
                                                                   terminate the pending Motion, (Dkt. No. 71), and to mail
                                                                   a copy of this Opinion to Plaintiff.
3 Because   the Court does not consider Plaintiff's belatedly
                                                                   SO ORDERED.
raised sexual assault claim, it does not offer a view as to
whether Plaintiff has exhausted that claim as required by          DATED: September 18, 2019
DOCCS Directive 4040. The Court notes, however, that even
if Plaintiff has exhausted a putative sexual assault claim, that   White Plains, New York
would not alter the Court's conclusion here that Plaintiff has
                                                                   /s/ Kenneth M. Karas
failed to exhaust his separate claims of physical assault and
inadequate medical care. See Johnson v. Conley, No. 17-CV-
                                                                   KENNETH M. KARAS
70, 2018 U.S. Dist. LEXIS 150452, 2018 WL 4224076, at *6
(D. Conn. Sept. 5, 2018) (dismissing all claims for failure to     UNITED STATES DISTRICT JUDGE
exhaust "except for those that were within the scope of [the]
plaintiff's PREA complaint"), appeal dismissed, No. 18-2933
(2d Cir. Nov. 26, 2018); Allen v. GrahamAllen v. Graham, No.         End of Document

16-CV-47, 2017 U.S. Dist. LEXIS 159177, 2017 WL 9511168,
at *7 (N.D.N.Y. Sept. 26, 2017) (denying summary judgment
on sexual assault claim where the plaintiff complied with
Directive 4040, but that because Directive 4040 is "solely for
sexual abuse and sexual harassment claims, [the] plaintiff's
complaint to [the prison's] mental health staff would not
exhaust other claims . . . , such as an Eighth Amendment
excessive force claim"), adopted by 2017 U.S. Dist. LEXIS
197789, 2017 WL 5957742 (N.D.N.Y. Dec. 1, 2017).
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                                                 Sheffer v. Fleury
                           United States District Court for the Northern District of New York

                              September 18, 2019, Decided; September 18, 2019, Filed

                                               9:18-CV-1180 (LEK/DJS)

Reporter
2019 U.S. Dist. LEXIS 158842 *; 2019 WL 4463672
                                                               York's Upstate Correctional Facility ("Upstate") violated
JOSHUA SHEFFER, Plaintiff, -against- CORRECTION
                                                               his Eighth Amendment rights when they failed to protect
OFFICER FLEURY, et al., Defendants.
                                                               him from a series of sexual assaults by his bunkmate in
Prior History: Sheffer v. Fleury, 2019 U.S. Dist. LEXIS        September 2017. Dkt. No. 1 ("Complaint"). After a
139742 (N.D.N.Y., Aug. 19, 2019)                               sufficiency review by the Court pursuant to 28 U.S.C. §§
                                                               1915(e)(2)(B) and 1915A, Plaintiff's failure-to-protect
Counsel: [*1] Joshua Sheffer, Plaintiff, Pro se, Marcy,        claims proceeded against the following defendants:
NY.                                                            Correction Officer Travis Bond ("Bond"), Correction
For Fleury, Correction Officer, Bond, Correciton Officer,      Sergeant      John   Doe     ("Doe"),1   Correction     Officer
John Doe, Correction Sergeant, Smith, Offender                 Nicholas Fleury ("Fleury"), New York State Department
Rehabilitation Counselor, Albert Prack, Director of            of Corrections and Community Supervision ("DOCCS")
Special Housing Units, Frances Sullivan, Policy and            Deputy Commissioner for Administration [*2]             Daniel
Complaint Review Chairperson, Daniel Martuscello, III,         Martuscello, III ("Martuscello"), DOCCS Director of
Deputy Commissioner of Administration, Defendants:             Special Housing Units Albert Prack ("Prack"), Offender
Konstandinos D. Leris, New York State Attorney                 Rehabilitation Counselor Luann Smith ("Smith"), and
General - Albany, Albany, NY.                                  DOCCS Policy and Complaint Review Chairperson

                                                               Frances Sullivan ("Sullivan").2 Dkt. No. 8 ("November
Judges: Lawrence E. Kahn, United States District
                                                               2018 Decision and Order"). In the same order, the Court
Judge.
                                                               dismissed Plaintiff's failure-to-protect claims against
Opinion by: Lawrence E. Kahn


Opinion                                                        1 Doe   was subsequently identified as Correction Sergeant
                                                               Michael Walantus. Dkt. No. 14.

                                                               2 Doe   and Sullivan have not yet been served or appeared in
DECISION AND ORDER                                             this action, see Dkt. No. 24-9 ("Defendants' Memorandum") at
                                                               3, n.1, n.2; Dkt. No. 14; Dkt. No. 19, and take no part in the
                                                               motions that are the subject of this Decision and Order.
I. INTRODUCTION                                                Therefore, when the Court writes generally of "Defendants" in
                                                               this Decision and Order, it refers to Bond, Fleury, Martuscello,
Pro se plaintiff Joshua Sheffer brought this action under
                                                               Prack, and Smith. When discussing an individual defendant's
42 U.S.C. § 1983 alleging, inter alia, that officials at New   motion, the Court refers to the defendant by name.
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DOCCS, Correction Officer Chase, and acting Upstate           Defendant's Motion for Summary Judgment because
Superintendent Donald Uhler, and dismissed Plaintiff's        Plaintiff had exhausted his administrative remedies
sexual harassment claims brought against only two             under the Prison Rape Elimiation Act ("PREA"), 34
defendants, Doe and Correction Officer Labarge. Nov.          U.S.C. § 30301, et seq., and DOCCS Directive 4040 §
2018 Decision and Order. Bond, Fleury, Martuscello,           701.3(i), which establishes the exhaustion requirements
Prack, and Smith then moved for summary judgment              for inmate complaints of sexual abuse or harassment;
under Federal Rule of Civil Procedure 56(a), arguing          (2) denying Smith's Motion to Dismiss because Plaintiff
that Plaintiff had failed to exhaust his administrative       had pled sufficient facts to demonstrate Smith's
remedies as required by the Prison Litigation Reform          personal involvement in the alleged Eighth Amendment
Act ("PLRA"), 42 U.S.C. § 1997e. See Defs.' Mem. at 9;        violation; [*4] and (3) granting the Motion to Dismiss by
Dkt. No. 30 ("Defendants' Reply") at 9-10. In the             Prack and Martuscello, which Plaintiff did not oppose. R.
alternative, Defendants requested an opportunity to           & R. at 17. Magistrate Judge Stewart did not address
depose Plaintiff on the limited issue of exhaustion           Defendants' request to depose Plaintiff nor their request
followed by an evidentiary hearing pursuant to Messa v.       for a Messa hearing. Id.
Goord, 652 F.3d 305 (2d Cir. 2011), and Martuscello,
Prack, and Smith moved to dismiss under Federal Rule
                                                              B. Defendants' Objections to the Report-
of Civil Procedure 12(b)(6) for lack of personal
                                                              Recommendation
involvement. Defs.' Mem. at 9. Plaintiff does not oppose
the motion [*3] to dismiss by Prack and Martuscello, but      With regard to their Motion for Summary Judgment, the
opposes the remainder of the motions. Dkt. No. 31-3           Court reads Defendants' Objections to argue that
("Plaintiff's Response") at 10. The Honorable Daniel J.       Plaintiff has failed to exhaust his administrative
Stewart, United States Magistrate Judge, issued a             remedies    because     the   exhaustion    procedure     for
Report-Recommendation and Order in response to                incidents of sexual assault found in § 701.3(i) does not
Defendants'     motions,    Dkt.    No.    39     ("Report-   apply to Plaintiff's claims. Objs. at 2-5. Specifically,
Recommendation"),      to   which    Defendants      timely   Defendants object that § 701.3(i) does not apply to
objected, Dkt. No. 40 ("Objections"). For the following       Plaintiff's failure-to-protect claim because the claim is
reasons, the Court approves and adopts the Report-            not "necessarily intertwined" with the underlying sexual
Recommendation in its entirety.                               assault allegation, as Magistrate Judge Stewart held it
                                                              was. Id. at 4. Additionally, Defendants take issue with a
                                                              factual finding by Magistrate Judge Stewart that Plaintiff
II. BACKGROUND
                                                              told Bond on September 25, 2017 that he feared he
The facts and allegations in this case were detailed in       would be "sexually assaulted" by his bunkmate. Id. at 2
the November 2018 Decision and Order and the Report-          (citing R. &. R. at 3). They argue that Plaintiff failed to
Recommendation. See Nov. 2018 Decision and Order              produce evidence proving that he told any defendant at
at 3-6; R. & R. at 2-4. Familiarity is assumed.               any time about his fears of sexual assault. Objs. at 3.

                                                              As for the Motion to Dismiss, Smith objects generally
A. Magistrate Judge Stewart's Report-Recommendation           that Plaintiff [*5] pled insufficient facts to plausibly show
                                                              that Smith was personally involved in the events
Magistrate Judge Stewart recommended: (1) denying
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                                            2019 U.S. Dist. LEXIS 158842, *5


underlying this dispute. Id. at 5. More specifically, Smith      or recommendations made by the magistrate judge." §
argues that Plaintiff never alleged that he told her he          636(b).
was afraid of being sexually assaulted by his bunkmate,
and she questions Magistrate Judge Stewart's "reliance"
                                                                 B. Legal Standard for Summary Judgment
on two letters Plaintiff alleges he sent to Smith regarding
his fears. Id. at 5-6. Thus, Smith argues, Plaintiff has not     Under Federal Rule of Civil Procedure 56(a), summary
plausibly alleged that Smith was personally involved in          judgment is appropriate only where "there is no genuine
the alleged failure to protect Plaintiff from his bunkmate.      dispute as to any material fact and the movant is entitled
                                                                 to judgment as a matter of law." The moving party bears
                                                                 the   burden     to   demonstrate      through    "pleadings,
III. STANDARD OF REVIEW
                                                                 depositions, answers to interrogatories, and admissions
                                                                 on file, together with . . . affidavits, if any," that there is
A. Review of Report-Recommendation                               no    genuine    issue   of   material    fact.   F.D.I.C.   v.
                                                                 Giammettei, 34 F.3d 51, 54 (2d Cir. 1994) (quoting
Within fourteen days after a party has been served with
                                                                 Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S. Ct.
a copy of a magistrate judge's report-recommendation,
                                                                 2548, 91 L. Ed. 2d 265 (1986)). To defeat a motion for
the party "may serve and file specific, written objections
                                                                 summary judgment, the non-movant must set out
to the proposed findings and recommendations." Fed.
                                                                 specific facts showing that there is a genuine issue for
R. Civ. P. 72(b); L.R. 72.1(c). If objections are timely
                                                                 trial and cannot rest merely on allegations or denials of
filed, a court "shall make a de novo determination of
                                                                 the facts submitted by the movant. Fed. R. Civ. P. 56(c);
those portions of the report or specified proposed
                                                                 see also Scott v. Coughlin, 344 F.3d 282, 287 (2d Cir.
findings or recommendations to which objection is
                                                                 2003) ("Conclusory allegations or denials are ordinarily
made." 28 U.S.C. § 636(b). However, if no objections
                                                                 not sufficient to defeat a motion for summary judgment
are made, or if an objection is general, conclusory,
                                                                 when the moving party has [*7] set out a documentary
perfunctory, or a mere reiteration of an argument made
                                                                 case."); Rexnord Holdings, Inc. v. Bidermann, 21 F.3d
to the magistrate judge, a district court need review that
                                                                 522, 525-26 (2d Cir. 1994). To that end, sworn
aspect [*6] of a report-recommendation only for clear
                                                                 statements are "more than mere conclusory allegations
error. Barnes v. Prack, No. 11-CV-857, 2013 U.S. Dist.
                                                                 subject to disregard . . . [sworn statements] are specific
LEXIS 37070, 2013 WL 1121353, at *1 (N.D.N.Y. Mar.
                                                                 and detailed allegations of fact, made under penalty of
18, 2013); Farid v. Bouey, 554 F. Supp. 2d 301, 306-07
                                                                 perjury, and should be treated as evidence in deciding a
(N.D.N.Y. 2008), abrogated on other grounds, Widomski
                                                                 summary judgment motion," and the credibility of such
v. State Univ. of N.Y. at Orange, 748 F.3d 471 (2d Cir.
                                                                 statements is better left to a trier of fact. Scott, 344 F.3d
2014); see also Machicote v. Ercole, No. 06-CV-13320,
                                                                 at 289 (citations omitted).
2011 U.S. Dist. LEXIS 95351, 2011 WL 3809920, at *2
(S.D.N.Y. Aug. 25, 2011) ("[E]ven a pro se party's               "[T]he trial court's task at the summary judgment motion
objections to a Report and Recommendation must be                stage of the litigation is carefully limited to discerning
specific and clearly aimed at particular findings in the         whether there are any genuine issues of material fact to
magistrate's proposal . . . ."). "A [district] judge . . . may   be tried, not to deciding them. Its duty, in short, is
accept, reject, or modify, in whole or in part, the findings     confined at this point to issue-finding; it does not extend
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to issue-resolution." Gallo v. Prudential Residential              2011) (internal quotation marks and citation omitted).
Servs., Ltd. P'ship, 22 F.3d 1219, 1224 (2d Cir. 1994).            Nonetheless, a pro se complaint must state a "plausible
When considering a motion for summary judgment, the                claim for relief." See Harris v. Mills, 572 F.3d 66, 72 (2d
court must resolve all ambiguities and draw all                    Cir. 2009).
reasonable inferences in favor of the non-movant. Nora
Beverages, Inc. v. Perrier Group of Am., Inc., 164 F.3d
                                                                   IV. ANALYSIS
736, 742 (2d Cir. 1998). Furthermore, where a party is
proceeding pro se, the court must "read his supporting             As an initial matter, and before turning to the balance of
papers liberally, and . . . interpret them to raise the            the Report-Recommendation, the Court notes that
strongest arguments that they suggest." Burgos v.                  Plaintiff has not opposed the motion to dismiss by
Hopkins, 14 F.3d 787, 790 (2d Cir. 1994); accord Soto              Martuscello and Prack. Pl's. Resp. at 9. The Court finds
v. Walker, 44 F.3d 169, 173 (2d Cir. 1995).                        no clear error in Magistrate Judge [*9]          Stewart's
Nonetheless, summary judgment is appropriate "[w]here              recommendation that the claims against Martuscello
the record taken as a whole could not lead a rational              and Prack be dismissed, R. & R. at 12-13, and adopts
trier of fact to find for the non-moving [*8] party."              the recommendation.
Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475
                                                                   Turning to Defendants' Motion for Summary Judgment
U.S. 574, 587, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986).
                                                                   and Smith's Motion to Dismiss, after reviewing the
                                                                   papers and the Report-Recommendation, the Court
C. Legal Standard for Motion to Dismiss                            finds no clear error in the unobjected-to portions of the
                                                                   Report-Recommendation. And, after reviewing de novo
To survive a motion to dismiss under Federal Rule of
                                                                   the portions of the Report-Recommendation to which
Civil Procedure 12(b)(6), "a complaint must contain
                                                                   Defendants object, the Court finds no error. Magistrate
sufficient factual matter . . . 'to state a claim to relief that
                                                                   Judge Stewart employed the proper legal standards,
is plausible on its face.'" Ashcroft v. Iqbal, 556 U.S. 662,
                                                                   accurately recited the facts alleged, and correctly
678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) (quoting
                                                                   applied the law to those facts. As a result, the Court
Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.
                                                                   accepts and adopts the Report-Recommendation for the
Ct. 1955, 167 L. Ed. 2d 929 (2007)). "A claim has facial
                                                                   reasons stated therein. The Court adds the following
plausibility when the plaintiff pleads factual content that
                                                                   discussion.
allows the court to draw the reasonable inference that
the defendant is liable for the misconduct alleged." Id. In
assessing whether this standard has been met, courts               A. Denial of Defendants' Motion for Summary Judgment
"must accept all allegations in the complaint as true and
                                                                   Defendants moved for summary judgment on the
draw all inferences in the light most favorable to the
                                                                   grounds that Plaintiff failed to exhaust his administrative
non-moving party[] . . . ." In re NYSE Specialists Sec.
                                                                   remedies through the DOCCS Inmate Grievance
Litig., 503 F.3d 89, 95 (2d Cir. 2007) (internal citation
                                                                   Program ("IGP"), as was required under the PLRA.
omitted). Where, as here, the complaint was filed pro
                                                                   Defs.' Mem. at 7-11; Defs.' Reply at 4-8. The PLRA
se, it must be construed liberally with "special solicitude"
                                                                   provides that "[n]o action shall be brought with respect
and interpreted "to raise the strongest claims that it
                                                                   to prison conditions under section 1983 of this title, or
suggests." Hill v. Curcione, 657 F.3d 116, 122 (2d Cir.
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any other Federal law, by a prisoner [*10] confined in               Specifically, "an inmate is not required to file a
any jail, prison, or other correctional facility until such          grievance concerning an alleged incident of sexual
administrative     remedies       as      are     available   are    abuse or sexual harassment to satisfy the [PLRA]
exhausted." 42 U.S.C. § 1997e(a). Exhaustion in                      exhaustion requirement." Directive 4040 § 701.3(i)
prisoner cases covered by § 1997e(a) is mandatory,                   (citations omitted). Instead,
Ross v. Blake, 136 S. Ct. 1850, 1856, 195 L. Ed. 2d 117                   [A]ny allegation concerning an incident of sexual
(2016), and must be "proper," which means using all                       abuse or sexual harassment shall be deemed
steps of the agency's administrative process and                          exhausted if official documentation confirms that:
complying with "deadlines and other critical procedural                   an inmate who alleges being the victim of sexual
rules," Woodford v. Ngo, 548 U.S. 81, 94, 126 S. Ct.                      abuse or sexual harassment reported the incident
2378, 165 L. Ed. 2d 368 (2006).                                           to facility staff; in writing to Central Office Staff; to
                                                                          any outside agency that the Department has
To satisfy the PLRA's exhaustion requirement, an
                                                                          identified   as       having   agreed   to    receive   and
inmate-plaintiff in DOCCS' custody must typically follow
                                                                          immediately forward inmate reports of sexual abuse
the IGP's three-step process, which involves filing an
                                                                          and sexual harassment to agency officials under
initial grievance with the IGP clerk at the prison where
                                                                          the PREA Standards; or to the Department's Office
the inmate is incarcerated and, in the case of an
                                                                          of the Inspector General.
adverse ruling, two subsequent levels of appeals. See
DOCCS Directive 4040 § 701.5; N.Y. Comp. Codes R.                    Id. (citations omitted). If an inmate does file a grievance
& Regs. tit. 7, § 701.5; Carleton v. Annucci, No. 17-CV-             regarding a complaint of sexual abuse or sexual
245, 2018 U.S. Dist. LEXIS 199594, 2018 WL 7917921,                  harassment,       "[t]he     complaint   shall     be   deemed
at   *5-6   (N.D.N.Y.     Nov.      21,     2018),   report   and    exhausted upon filing." Id. Finally, "[a] sexual abuse or
recommendation adopted, 2019 U.S. Dist. LEXIS                        sexual harassment complaint may be submitted at any
17228, 2019 WL 422530 (N.D.N.Y. Feb. 4, 2019)                        time." Id.
(describing three-step process in detail). Generally, a
                                                                     Magistrate Judge Stewart found that Plaintiff had
plaintiff must properly appeal through all three levels of
                                                                     properly exhausted his remedies under the relaxed
review before seeking relief in a federal court under §
                                                                     procedures found [*12] in § 701.3(i). The Magistrate
1983. See Ruggiero v. Cnty. of Orange, 467 F.3d 170,
                                                                     Judge held that an "incident" of sexual abuse under §
176 (2d Cir. 2006).
                                                                     701.3(i) could include "not only the acts of sexual abuse
However, for complaints regarding sexual abuse or                    by an inmate or a corrections officer, but also other
harassment,      DOCCS      has      established     a   different   events which are necessarily intertwined with such a
procedure. See DOCCS Directive 4040 § 701.3(i); N.Y.                 claim, such as a physical assault during the course of
Comp. Codes R. & Regs. tit. 7, § 701.3(i). Revised in                the abuse; the failure of correctional staff to intervene to
2014 pursuant to the Prison Rape Elimination Act                     stop the rape; or acts or failures to act making a jail
("PREA"), see Henderson v. Annucci, No. 14-CV-445A,                  official legally accountable for the sexual abuse." R. &
2016 U.S. Dist. LEXIS 33470, 2016 WL 3039687, at *3                  R. at 8-9 (citing Abreu v. Miller, 2018 U.S. Dist. LEXIS
(W.D.N.Y. Mar. 14, 2016), Directive 4040 § 701.3(i)                  139930, 2018 WL 5660409, at *4 (N.D.N.Y. Aug. 16,
creates a relaxed exhaustion requirement for allegations             2018), report and recommendation adopted, 2018 U.S.
concerning [*11]        incidents      of       sexual   assault.    Dist. LEXIS 160761, 2018 WL 4502007 (N.D.N.Y. Sept.
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20, 2018), order amended and superseded on                            Intertwined with His Claim that His Bunkmate Sexually
reconsideration on other grounds, 2019 U.S. Dist.                     Assaulted Him
LEXIS 27276, 2019 WL 761639 (N.D.N.Y. Feb. 21,
                                                                      The crux of Defendants' objection is that "plaintiff['s]
2019) (finding that allegations that an inmate was a
                                                                      alleg[ations] that defendants failed to protect him from
victim of a "non-sexual physical assault" could be
                                                                      being sexually assaulted by another inmate" are "not
subject to § 701.3(i)'s relaxed exhaustion requirement
                                                                      necessarily intertwined with the alleged sexual assault
where, at the summary judgment stage, it was not clear
                                                                      or harassment committed by Plaintiff's bunkmate." Objs.
"that the physical assault was discrete from the sexual
assault").     Because     Plaintiff    grieved      that   DOCCS     at 4. The Court disagrees.4

employees failed to protect him from sexual abuse by
                                                                      As an initial matter, Defendants did not object to
his bunkmate, Magistrate Judge Stewart held that
Plaintiff's    failure-to-protect      claim   was      necessarily
intertwined with the underlying sexual assault and, thus,             4 Defendants'   objection on this point is not a model of clarity.
subject to § 701.3(i)'s relaxed exhaustion requirement.               For example, Defendants state that "[w]hile the alleged
R. & R. at 8-9. And because "[t]here appears to be no                 underlying assault on plaintiff by his bunkmate was sexual in
question that Plaintiff alleged [*13] to prison officials             nature, the defendants object because the nature of the

that he was the victim of a sexual assault . . .[Plaintiff's]         assault, in this circumstance, is not subject to the sexual
                                                                      abuse provisions of Directive 4040." Objs. at 4. It is unclear to
report was [thus] documented as required" and "was
                                                                      the Court how "the nature of the assault" perpetrated by
sufficient to exhaust his administrative remedies." R. &
                                                                      Plaintiff's bunkmate—an assault that Defendants do not
R. at 8 (citing Medina v. Kaplan, 2018 U.S. Dist. LEXIS
                                                                      dispute involved coerced sexual acts—could not be subject to
20980, 2018 WL 797330, at *5 (S.D.N.Y. Feb. 8, 2018)).                "the sexual abuse provisions of Directive 4040." Additionally,
On this basis, the Magistrate Judge recommended                       Defendants argue that "plaintiff was required to utilize the
denying Defendants' Motion for Summary Judgment. R.                   three-step grievance procedure with respect to his claims of
& R. at 9.                                                            harassment and threats against defendants," Objs. at 4,
                                                                      without explaining which "claims of harassment and threats"
Defendants appear to raise two objections to this                     they mean. It is possible to read the objection to refer to
recommendation. First, they dispute Magistrate Judge                  Plaintiff's claims in his grievance that, inter alia, Correction
Stewart's determination that Plaintiff's failure-to-protect           Officer Chase stated "he will get [Plaintiff], one way or the
allegations      against    Defendants         are      necessarily   other," Compl. ¶ 23, or that certain correction officers

intertwined with the sexual assault committed by                      tampered with Plaintiff's clothes and food and prevented him
                                                                      from accessing his "legal work," "religious articles," and the
Plaintiff's bunkmate. Second, they object to the
                                                                      law library, see generally [*14] Dkt. No. 24-4 at 1-2, Dkt. No.
Magistrate Judge's factual finding that Plaintiff informed
                                                                      31-1 at 1 (together, the "October 1 Grievance"), claims that
DOCCS employees that he was in fear of sexual
                                                                      either were never at issue in or have already been dismissed
assault.3 The Court addresses these objections in turn.               from this case, see generally Compl.; Nov. 2018 Decision and
                                                                      Order. Or, the objection could refer specifically to allegations,
                                                                      such as Fleury's threat to lodge Plaintiff with the "perfect
1. Plaintiff's Failure-to-Protect Claim Is Necessarily
                                                                      bunkie," Compl. ¶ 22; Oct. 1 Grievance at 1, that are directly
                                                                      relevant to the failure-to-protect claim at issue. Despite this
3 The   Court has reversed the order of Defendants' objections        lack of clarity, the Court has construed Defendant's objections
for analytical clarity.                                               as generously as possible, and it still finds them wanting.
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Magistrate Judge Stewart's interpretation that claims               Directive    4027A,    "Sexual       Abuse     Prevention     &
"necessarily intertwined" with an underlying sexually               Intervention — Inmate-on-Inmate" and Directive 4028A,
abusive act fall under § 701.3(i)'s relaxed exhaustion              "Sexual Abuse Prevention & Intervention — Staff-on-
requirements. Objs. at 4 ("[D]efendants assume, for the             Inmate." Directive 4040 § 701.3(i) (emphasis [*15]
purposes of this motion, that allegations that are                  added). In turn, Directive 4027A "provides information
'necessarily intertwined' with sexual assault or sexual             concerning . . . the prevention of . . . allegations of
harassment are encompassed within [the § 701.3(i)]                  inmate-on-inmate sexual abuse . . ." and states that,
exception of the exhaustion requirement."). As such, the            "[all] allegations of sexual abuse, sexual harassment, or
Court reviews this determination only for clear error, and          retaliation against . . . an inmate . . . will be thoroughly

it finds none.5                                                     investigated." Directive 4027A. This suggests that §
                                                                    701.3(i) was intended to cover allegations that DOCCS
Turning to Defendants' objection, to the extent the                 employees failed to prevent inmate-on-inmate sexual
objection is a general one—that a "failure-to-protect"              abuse, exactly the issue raised in this case. Moreover,
claim can never be necessarily intertwined with an                  the Court agrees with Magistrate Judge Stewart that
underlying sexual assault—such an interpretation does               reading § 701.3(i) to encompass failure-to-protect
not comport with the language of § 701.3(i). When                   claims "is not only consistent with its language, but also
explaining which allegations are subject to § 701.3(i)'s            comports with its purpose in attempting to prevent
special exhaustion requirements, the section cites to               [sexual assault]." R. & R. at 9.

                                                                    Defendants also object specifically that Plaintiff's
5 The   Court notes that case law interpreting the 2014 revisions   "allegations against the defendants in this case are not
to Directive 4040 is limited. See Abreu, 2018 U.S. Dist. LEXIS
                                                                    necessarily intertwined" with the underlying sexual
139930, 2018 WL 5660409, at *2; Fox v. Lee, No. 15-CV-390,
                                                                    assault. Objs. at 4. In making this objection, Defendants
2018 U.S. Dist. LEXIS 213705, 2018 WL 8576600, at *10
                                                                    rely on a letter Plaintiff received from the IGP supervisor
(N.D.N.Y. Dec. 18, 2018), report and recommendation
                                                                    at Upstate, "advising [Plaintiff] that the PREA portions of
adopted, 2019 U.S. Dist. LEXIS 48967, 2019 WL 1323845
(N.D.N.Y. Mar. 25, 2019); Lewis v. Martinez, No. 15-CV-55,          his complaint were deemed exhausted and the
2018 U.S. Dist. LEXIS 192691, 2018 WL 7917916, at *7                additional allegations of harassment, retaliation, and
(N.D.N.Y. Nov. 9, 2018), report and recommendation adopted,         threats by staff" were under investigation. Id. (citing
2019 U.S. Dist. LEXIS 24899, 2019 WL 642678 (N.D.N.Y.               Dkt. [*16] No. 29-1 (the "IGP Letter") at 6). Defendants
Feb. 15, 2019), reconsideration denied, 2019 U.S. Dist. LEXIS       claim that there "is no ambiguity" that the "PREA
80933, 2019 WL 2105562 (N.D.N.Y. May 14, 2019); Allen v.
                                                                    portions" of Plaintiff's complaint referenced in the letter
Graham, No. 16-CV-47, 2017 U.S. Dist. LEXIS 159177, 2017
                                                                    included only "his complaint that he was assaulted by
WL 9511168, at *6-7 (N.D.N.Y. Sept. 26, 2017), report and
                                                                    his cellmate on three occasions." Objs. at 4. Defendants
recommendation adopted, 2017 U.S. Dist. LEXIS 197789,
                                                                    thereby suggest that Plaintiff's failure-to-protect claim
2017 WL 5957742 (N.D.N.Y. Dec. 1, 2017); McCray v. City of
Albany, No. 13-CV-949, 2017 U.S. Dist. LEXIS 62169, 2017            falls within the "additional allegations of harassment,
WL 1433336, at *2 (W.D.N.Y. Apr. 24, 2017); Henderson,              retaliation, and threats by staff" referenced in the IGP
2016 U.S. Dist. LEXIS 33470, 2016 WL 3039687, at *3-4;              Letter and imply that such treatment by the IGP
Medina, 2018 U.S. Dist. LEXIS 20980, 2018 WL 797330, at             supervisor   is   dispositive.     Id.   ("[T]he   portions   of
*5. A review of this case law reveals no rulings contrary to        [Plaintiff's] grievance subject to the PLRA's exhaustion
Magistrate Judge Stewart's interpretation.
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requirements — his complaints of harassment and                      his     failure-to   protect   claim,   and   the   "additional
threats against the defendants — were forwarded to the               allegations of harassment, retaliation, and threats" to
Superintendent [in accordance with DOCCS' standard                   refer to his claims about the correction officers
appeals procedure] . . . thus, it is respectfully submitted          tampering with his food, clothes, and possessions. See
that plaintiff was required to utilize the three-step                R. & R. at 9. The IGP Letter was ambiguous [*18]
grievance procedure with respect to his claims of                    enough that "it would be justifiable for [Plaintiff] to rely"
harassment and threats against defendants.").                        on the IGP Letter's statement "that his PREA allegations
                                                                     had been deemed exhausted." Id.
Assuming, arguendo, DOCCS' treatment of an inmate
grievance were binding upon this Court, this argument                For these reasons, the Court agrees with Magistrate
fails on its own terms. The portions of the record                   Judge Stewart's holding that Plaintiff's failure-to-protect
Defendants cite to support their claim that there is "no             claim is necessarily intertwined with his underlying
ambiguity     about      which    part   [of    Plaintiff's] [*17]   allegation of sexual assault by his bunkmate, that §
grievance was deemed exhausted" are far from                         701.3(i) therefore encompasses Plaintiff's failure-to
unambiguous. See IGP Letter (stating without further                 protect claim, and that Plaintiff successfully exhausted
explanation that "your PREA allegations will be deemed               this claim pursuant to the § 701.3(i) procedure when he
exhausted upon filing . . . ."); see generally Oct. 1                filed a grievance with DOCCS officials.
Grievance (describing in detail Plaintiff's experience at
Upstate and listing grounds for complaint, including,
                                                                     2. The Factual Finding that Plaintiff Told Bond About His
inter alia, that correction officers tampered with Plaintiff's
                                                                     Fear of "Sexual Assault"
clothes, failed to provide him with a mattress and
necessary toiletries when he first arrived at Upstate,               In describing the facts of this case, Magistrate Judge
prevented     him     from   accessing    his     "legal   work,"    Stewart wrote that "Plaintiff informed Bond that he
"religious articles," and the law library, and that                  feared he would be sexually assaulted." R. & R. at 3.
Correction     Officer    Chase     threatened       to    "make     Defendants object to this statement, arguing that "there
[Plaintiff's] breakfast tray special and Defendant Fleury            is nothing in the record to suggest that plaintiff
threatened to lodge Plaintiff with the "perfect bunkie").6           complained to any . . . defendant[] at any time that he
Given the litany of allegations contained in Plaintiff's             was in fear of being sexually abused." Objs. at 2. In
grievance, Magistrate Judge Stewart correctly noted                  doing so, Defendants urge the Court to read Plaintiff's
that Plaintiff could "reasonably interpret" the "PREA                Complaint narrowly. The Court declines.
allegations" referenced in the IGP Letter to encompass
                                                                     As an initial matter, while Defendants' objection on this
                                                                     point is certainly relevant to the merits of Plaintiff's [*19]
6 Because    Defendants submitted an incomplete copy of
                                                                     failure-to-protect claim,7 it is less obviously relevant to
Plaintiff's grievance in support of their Motion for Summary
Judgment, the October 1 Grievance is found in two places in
the record: Docket Number 24-4 at pages one to two and
Docket Number 31-1 at page one. For purposes of clarity in           7 See   Green v. Leubner, No. 07-CV-1035, 2009 U.S. Dist.
pagination, this Decision and Order treats Docket Number 24-         LEXIS 86533, 2009 WL 3064749, at *6 (N.D.N.Y. Sept. 22,
4 as pages one and two, and Docket Number 31-1 as page               2009) (Kahn, J.) (describing how a failure-to-protect claim
three.                                                               requires a prison official to have "sufficient culpable intent,"
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the question of exhaustion. Under § 701.3(i)'s relaxed           to exhaustion are not before the Court at this time.
exhaustion procedure, which the Court has already
                                                                 Yet, entertaining this objection, the Court sees no error
determined governs Plaintiff's claim, filing an official
                                                                 in the recitation of the facts found in the Report-
grievance ex post regarding a failure-to-protect from
                                                                 Recommendation. Magistrate Judge Stewart found, and
sexual assault is sufficient to exhaust administrative
                                                                 the record demonstrates, that Plaintiff attempted to
remedies. See 701.3(i) ("Any inmate grievance filed
                                                                 express his fears to DOCCS employees on at least four
regarding a complaint of sexual abuse or sexual
                                                                 occasions. See R. & R. at 2-3. On September 18, 2017,
harassment shall . . . be deemed exhausted upon filing
                                                                 Plaintiff told Smith "I fear for my safety and . . . I am
for PLRA purposes."). Here, there is no dispute that
                                                                 being harassed by the staff." Oct. 1 Grievance at 1-2;
Plaintiff filed such a grievance, explicitly naming Fleury
                                                                 see also Dkt. No. 31-1 at 2-4 ("Amended Grievance")
and Smith. Defs.' Mem. at 5 ("[P]laintiff filed a grievance
                                                                 ("[I] told [Defendant Smith] that I fear for my life and
with the Upstate grievance office against defendants
                                                                 safety."). Later that day, Plaintiff mailed letters to
C.O. Fleury and Smith relating to his failure to protect
                                                                 Martuscello, Prack, Smith, and Sullivan expressing the
claims."); Dkt. No. 24-2 ("Declaration of Donna Wilcox in
                                                                 same concerns. Compl. [*21] ¶ 25. Then, on September
Support of Defendant's Motion for Summary Judgment")
                                                                 25, 2017, after Plaintiff received his new bunkmate, he
¶ 14 (same). And while the grievance does not name
                                                                 told Bond that he "can't live" with his new bunkmate,
Bond, see Oct. 1 Grievance at 2 ("On Septmber 25,
                                                                 Oct. 1 Grievance at 2; Am. Grievance at 3, and that he
2017 . . . I told the C.O. that walked by that I can't live
                                                                 feared being "assaulted." Compl. ¶ 26. That same day,
[with my bunkmate] . . . ."); cf. Compl ¶ 26 ("On or about
                                                                 Plaintiff was sexually assaulted by his bunkmate,
September 25, 2017 . . . Plaintiff told defendant Bond . .
                                                                 Compl. ¶ 27; Oct. 1 Grievance at 1-2; Am. Grievance at
. that he cannot live in this cell . . . ."), it was [*20] not
                                                                 3, after which he placed letters to Martuscello, Prack,
required to, see Shepherd v. Lempke, No. 10-CV-1524,
                                                                 and Smith in the feed up slot to his cell door informing
2016 U.S. Dist. LEXIS 150796, 2016 WL 8732639, at *6
                                                                 them of the assault, Compl. ¶ 28.
(N.D.N.Y. Oct. 28, 2016), report and recommendation
adopted in part, rejected in part, 2017 U.S. Dist. LEXIS         Defendants bear the burden of proving a failure to
48054, 2017 WL 1187859 (N.D.N.Y. Mar. 30, 2017)                  exhaust. See Grant v. Kopp, No. 17-CV-1224, 2019
("[I]nmate-plaintiffs need not identify each and every           U.S. Dist. LEXIS 1758, 2019 WL 368378, at *4
defendant implicated in a civil rights lawsuit in                (N.D.N.Y. Jan. 3, 2019), report and recommendation
grievances that predate the lawsuit.") (citing Jones v.          adopted, 2019 U.S. Dist. LEXIS 14368, 2019 WL
Bock, 549 U.S. 199, 217, 127 S. Ct. 910, 166 L. Ed. 2d           367302 (N.D.N.Y. Jan. 30, 2019) ("[T]he failure to
798 (2007)). Therefore, by filing this grievance, Plaintiff      exhaust administrative remedies is an affirmative
properly exhausted his remedies under § 701.3(i). Since          defense and . . . the party asserting failure to exhaust . .
Defendants have moved for summary judgment solely                . typically bears the ultimate burden of proving its
on the basis of a failure to exhaust remedies, Defs.'            essential elements.") (citing Jones, 549 U.S. at 216).
Mem. at 3; Defs.' Reply at 1, other issues not germane           However,     they    have     submitted     no    evidence
                                                                 contradicting Plaintiff's allegations. See generally Defs.'
                                                                 Mem.; Defs.' Reply. Instead, they point out that nowhere
which occurs when the official has "knowledge that an inmate
faces a risk of serious harm and . . . disregards that risk by   in his grievance letters or in his Complaint does Plaintiff
failing to take reasonable measures to abate the harm").         use the precise words "sexual assault" when he
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describes his communications with the guards at                 applicable to civil rights claims."). The legal definition of
Upstate, or with any other DOCCS official. Objs. at 2-3.        "assault" is capacious, see Assault, Black's Law
Thus, Defendants argue, "plaintiff did not complain to          Dictionary (11th ed. 2019) (listing definitions and noting
Bond that he was in fear of [*22]             being sexually    that "assault" is popularly defined as "any attack"), and
assaulted rather than merely assaulted," nor did he             encompasses Plaintiff's sexual assault by his bunkmate.
"advise[] any defendant that he was in fear of being            It would be unreasonable to expect a non-lawyer, pro se
sexually assaulted by his bunkmate." Objs. at 3. The            litigant to appreciate the legal niceties that distinguish
Court declines to read Plaintiff's evidence so narrowly.        the different forms of assault. For these reasons, and
                                                                "[r]esolv[ing] all ambiguities and draw[ing] all reasonable
While the Court acknowledges that Plaintiff's pleadings
                                                                inferences in favor of the non-movant," as the Court
and the available record evidence do not conclusively
                                                                must do on a motion for summary judgment, Berhanu v.
indicate that Plaintiff voiced an explicit fear of sexual
                                                                New York State Ins. Fund., 13 F. App'x 30, 31 (2d Cir.
assault to any defendant, at this stage of the litigation, it
                                                                2001), it is reasonable to infer that Plaintiff related his
is reasonable to infer that Plaintiff did. Defendants do
                                                                fear of sexual assault to DOCCS employees. Therefore,
not dispute that Plaintiff told Bond he feared being
                                                                the Court adopts [*24]        Magistrate Judge Stewart's
"assaulted" by his bunkmate. Objs. at 3; see also
                                                                factual findings in their entirety.
Compl. ¶ 26. Additionally, the record indicates that,
throughout this period, Plaintiff was concerned about his
risk of sexual abuse and harassment because of                  B. Denial of Smith's Motion to Dismiss
"several of [Plaintiff's] personal characteristics," Defs.'
                                                                In recommending that the Court deny Smith's motion to
Mem. at 4 (citing Compl. PP 34, 36), including his
                                                                dismiss, Magistrate Judge Stewart concluded that
sexual orientation and his previous sexual victimization,
                                                                Plaintiff had pled sufficient facts to plausibly show that
Oct. 1 Grievance at 2; Am. Grievance at 2-3. It also
                                                                Smith was "personally involved" in the failure to protect
appears that Plaintiff was concerned about sexual
                                                                Plaintiff from sexual assault by his bunkmate. R. & R. at
violence when he reported to Smith on September 18,
                                                                15-16. Smith objects to this conclusion.
2017 how Doe had misrepresented Plaintiff's history of
sexual victimization on Plaintiff's 3278RC form, which is       "[P]ersonal    involvement     of     defendants   in   alleged
used to determine if an inmate [*23] is susceptible to          constitutional deprivations is a prerequisite to an award
being sexually abused while in prison. Compl. ¶ 24; Oct.        of damages under § 1983." Farrell v. Burke, 449 F.3d
1 Grievance at 1-2.                                             470, 484 (2d Cir. 2006) (quoting Wright v. Smith, 21
                                                                F.3d 496, 501 (2d Cir. 1994)). An official may implicate
Given these contextual factors, and in light of the liberal
                                                                her or himself in "constitutional wrongdoing if [she or] he
reading afforded to a pro se litigant's papers, Burgos, 14
                                                                . . . 'exhibited deliberate indifference . . . by failing to act
F.3d at 790, the Court finds it reasonable to infer that
                                                                on information indicating that unconstitutional acts were
when Plaintiff told Bond he feared "assault" and Smith
                                                                occurring' or would occur." Tubbs v. Venettozzi, No. 19-
he   feared    for    his   safety,   these     conversations
                                                                CV-126, 2019 U.S. Dist. LEXIS 106751, 2019 WL
encompassed Plaintiff's fear of sexual assault. See also
                                                                2610942, at *3 (N.D.N.Y. June 26, 2019) (Kahn, J.)
Hailey v. N.Y. City Transit Auth., 136 Fed. Appx. 406,
                                                                (quoting Vincent v. Yelich, 718 F.3d 157, 173 (2d Cir.
407-08 (2d Cir. 2005) ("The rule favoring liberal
                                                                2013)); see also Salahuddin v. Goord, 467 F.3d 263,
construction of pro se submissions is especially
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280 (2d Cir. 2006) (deliberate indifference "requires that      (citing Compl. ¶ 30). Though Smith does not spell out
the charged official act or fail to act while actually aware    the implication of this point, the Court reads it to suggest
of a substantial risk that serious inmate harm will             that she might have stepped in to protect Plaintiff from
result."). Moreover, the § 1983 plaintiff must show a           his bunkmate and that, therefore, Magistrate Judge
"tangible connection" between the acts of the defendant         Stewart's "reliance" on the letter was misplaced. Objs. at
and the plaintiff's injuries. Bass v. Jackson, 790 F.2d         5-6. However, the Court does not read the Report-
260, 263 (2d Cir. 1986). By contrast, a mere "linkage" to       Recommendation as relying unduly on this or any other
the unlawful conduct through "the prison chain of               letter. Instead, Magistrate Judge Stewart considered the
command" is insufficient [*25] to show a defendant              letters in conjunction with the conversation Plaintiff had
official's personal involvement in that unlawful conduct.       with Smith on September 18 and gave the letters their
Richardson v. Goord, 347 F.3d 431, 435 (2d Cir. 2003).          appropriate weight. R. & R. at 13-16. And while it is
                                                                possible the Complaint could be read to suggest that,
Smith argues that Plaintiff never alleged that he told her
                                                                after receiving the second letter, Smith stepped in to
he was afraid of being sexually assaulted by his
                                                                arrange Plaintiff's transfer to a new bunk, such a reading
bunkmate,     either   in   their   September    18,   2017
                                                                would be inappropriate on a motion to dismiss. See
conversation or in the letter Plaintiff sent to Smith later
                                                                NYSE Specialists Sec. Litig., 503 F.3d at 95 (on a
that day. Smith appears to suggest that if she did not
                                                                motion to dismiss, the Court must "draw all inferences in
know Plaintiff was at risk or in fear of sexual assault,
                                                                the light most favorable to the non-moving party . . . .").
she could not be personally involved in failing to protect
                                                                Nor would it address the earlier letter or conversation,
him. See Green, 2009 U.S. Dist. LEXIS 86533, 2009
                                                                which [*27] alone are adequate to support Magistrate
WL 3064749, at *6 (quotations omitted) ("In the failure-
                                                                Judge Stewart's recommendation. See, e.g., Ferrer v.
to-protect context, a prison official . . . has sufficient
                                                                Fischer, No. 13-CV-31, 2014 U.S. Dist. LEXIS 60455,
culpable intent if [s]he has knowledge that an inmate
                                                                2014 WL 1763383, at *3 (N.D.N.Y. May 1, 2014)
faces a risk of serious harm and [s]he disregards that
                                                                (plaintiff's allegations that he sent multiple letters to a
risk by failing to take reasonable measures to abate the
                                                                named defendant, the defendant was "fully aware" of his
harm."). Yet as described above, and in light of the
                                                                situation, and the defendant failed to respond to the
liberal pleading requirements due pro se litigants, see
                                                                letters or take appropriate action was sufficient to defeat
Hill, 657 F.3d at 122, Plaintiff has pled sufficient facts to
                                                                defendant's motion to dismiss); Whitley v. Ort, 2018
support the reasonable inference that when he told—
                                                                U.S. Dist. LEXIS 168731, 2018 WL 4684144, at *7
and wrote to—Smith that he was in "fear[] for his life and
                                                                (S.D.N.Y. Sept. 28, 2018) (nurse allegedly failed to
safety, because of the threats made by defendant[]
                                                                provide plaintiff with medical treatment and take action
Fleury," Compl. ¶ 24, that fear encompassed sexual
                                                                under the PREA after plaintiff told nurse in person he
assault.
                                                                had been sexually assaulted).

Further, Smith argues that Plaintiff has alleged no facts
                                                                Smith relies on Price v. Oropallo, No. 13-CV-563, 2014
indicating that she failed to respond [*26] to a second
                                                                U.S. Dist. LEXIS 116019, 2014 WL 4146276 (N.D.N.Y.
letter Plaintiff allegedly sent her the day he was sexually
                                                                Aug. 19, 2014) to argue that, where an inmate-plaintiff
assaulted by his bunkmate. Objs. at 5. She points out
                                                                sends a letter to prison officials regarding the inmate's
that the day after Plaintiff wrote this letter, he was
                                                                fear of a bunkmate, and where the officials had no
placed in a new cell without a bunkmate. Id. at 5-6
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"knowledge of, or personal involvement in" placing the         also Hayes v. Dahkle, 2018 U.S. Dist. LEXIS 209599,
bunkmates together, nor were the officials "aware of"          2018 WL 7356343, at *18-19 (N.D.N.Y. Dec. 11, 2018),
the bunkmate's dangerousness, the plaintiff's case             report and recommendation adopted, 2019 U.S. Dist.
cannot survive summary judgment. See Defs.' Mem. at            LEXIS 25548, 2019 WL 689234 (N.D.N.Y. Feb. 19,
12 (citing Price, 2014 U.S. Dist. LEXIS 116019, [WL] at        2019) (finding personal involvement at the motion to
*9-10). However, Price is distinguishable.                     dismiss stage where plaintiff expressed his fear
                                                               regarding a certain correction officer to defendant prison
Price was decided on summary judgment rather than,
                                                               official). Under these circumstances, Price is inapposite.
as here, a motion to dismiss, a distinction that matters
because "personal involvement is a question of fact."          Smith's remaining objections largely restate points
See Grullon v. City of New Haven, 720 F.3d 133, 140            raised in Defendants' Motion for Summary Judgment
(2d Cir. 2013). In Grullon, the Second Circuit reversed        and Reply. Compare Objs. at 5-6 ("Plaintiff did not
the district court's dismissal of an inmate's § 1983           allege that defendant Smith: (1) knew plaintiff was going
claim [*28] because an earlier case "invoked by the            to be placed with a bunkmate that would sexually
district court" in granting the defendant prison warden's      assault him; (2) made the decision to place plaintiff's
motion to dismiss, Sealey v. Giltner, 116 F.3d 47 (2d          bunkmate in his cell with him; (3) was ever informed
Cir.1997), "did not involve a dismissal pursuant to Rule       who plaintiff's bunkmate was; or (4) was aware of
12(b)(6) for failure to state a claim," but instead "was       whether his bunkmate had any prior record of violence
dismissed on summary judgment." Id. The Second                 or sexual assault.") with Defs. Mem. at 12 ("[T]here are
Circuit had affirmed Sealey on summary judgment                no allegations in the Complaint which plausibly suggest
because "the record . . . showed that [the Sealey              that defendant[] Smith . . . : (1) made the decision to
defendant] had in fact taken steps to have the prisoner's      place plaintiff's bunkmate in his cell with him; (2) were
grievance resolved." Id. By contrast, since there was no       ever informed who plaintiff's bunkmate was; or (3) were
equivalent factual record in Grullon itself, and thus no       aware of whether his bunkmate had any prior record
evidence as to whether the Grullon defendant had               of [*30] violence or sexual assault.") and Reply at 9
responded to the inmate's complaints, the Second               ("[P]laintiff    has     not     alleged    any        facts   plausibly
Circuit reversed the district court's finding of no personal   suggesting that defendant Smith: (1) made the decision
involvement. Id. Here, there is likewise no evidence as        to place plaintiff's bunkmate in his cell with him; or (2)
to what action Smith may or may not have taken in              was aware of whether his bunkmate had any prior
response to Plaintiff's communications with her.               record of violence or sexual assault."). Accordingly, the
                                                               Court     reviews        these     portions       of     the    Report-
Further, solely at issue in Price was the defendant
                                                               Recommendation only for clear error and—for the
prison officials' failure to protect the plaintiff from a
                                                               reasons         stated    above       and     in         the    Report-
physical assault by his cellmate. But, in this case,
                                                               Recommendation—finds none.
Plaintiff also alleges that Smith failed to protect him from
retaliatory action by other correction officers, which took
the form of putting Plaintiff in harm's way for sexual         C. Defendant's Requests to Depose Plaintiff and for an
assault. See Compl. ¶ [*29] 24 ("Plaintiff told defendant,     Evidentiary Hearing
[sic] Smith that he fears for his life and safety, because
                                                               The Federal Rules of Civil Procedure require that a
of the threats made by defendant[] Fleury . . . ."); see
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party obtain leave of court when seeking to depose an           are free to renew the request then.
individual "confined in prison." Fed. R. Civ. P.
30(a)(2)(B). Additionally, because "exhaustion is a
                                                                V. CONCLUSION
matter of judicial administration," a plaintiff "is not
entitled to a jury trial relating to his exhaustion of          Accordingly, it is hereby:
administrative remedies." Woodward v. Lytle, No. 16-
                                                                ORDERED, that the Report-Recommendation (Dkt. No.
CV-1174, 2018 U.S. Dist. LEXIS 200155, 2018 WL
                                                                39) is APPROVED and ADOPTED in its entirety;
6179427, at *3 (N.D.N.Y. Nov. 27, 2018) (citing Messa,
                                                                and [*32] it is further
652 F.3d at 308-10). For this reason, "the court, not a
jury, determines factual disputes regarding an inmate's         ORDERED, that Defendants' Motion for Summary
alleged failure to exhaust." Id.                                Judgment (Dkt. No. 24) is DENIED; and it is further

The     Report-Recommendation         does     not    address   ORDERED, that Defendants Martuscello and Prack's
Defendants' request for "an opportunity to depose               Motion to Dismiss (Dkt. No. 24) is GRANTED; and it is
Plaintiff on the limited issue of exhaustion followed by        further
an evidentiary hearing pursuant to Messa v. Goord, 652
F.3d 305 (2d Cir. 2011)," in the event their [*31]              ORDERED, that the Clerk shall terminate Defendants

summary judgment motion is denied. See generally R. &           Martuscello and Prack from this action; and it is further

R. Presumably, this is because such a deposition and
                                                                ORDERED, that Defendant Smith's Motion to Dismiss
hearing would be unnecessary. As Magistrate Judge
                                                                (Dkt. No. 24) is DENIED; and it is further
Stewart explains in the Report-Recommendation:
                                                                ORDERED, that Defendants' request to depose Plaintiff
      There appears to be no question that Plaintiff
                                                                on the limited issue of exhaustion of remedies followed
      alleged to prison officials that he was the victim of a
                                                                by an evidentiary hearing pursuant to Messa v. Goord,
      sexual assault and that he received notice from the
                                                                652 F.3d 305 (2d Cir. 2011) (Dkt. No. 24) is DENIED
      IGP Supervisor stating his PREA claim has been
                                                                with leave to renew upon the submission of sufficient
      exhausted for PLRA purposes, and thus his report
                                                                evidence; and it is further
      was documented as required. Pursuant to DOCCS
      Directive 4040 that was sufficient to deem his            ORDERED, that the Clerk serve a copy of this Decision
      claims   regarding   the     alleged   sexual   assault   and Order on all parties in accordance with the Local
      exhausted. This was sufficient to exhaust his             Rules.
      administrative remedies.
                                                                IT IS SO ORDERED.
R. & R. at 8 (citations omitted). The Court agrees with
                                                                DATED: September 18, 2019
this explanation and finds that a deposition and Messa
hearing on exhaustion issues are unnecessary at this            Albany, New York
time. Should Defendants submit evidence calling into
question whether Plaintiff "allege[d] being the victim of       /s/ Lawrence E. Kahn

sexual abuse or sexual harassment [and] reported the
                                                                Lawrence E. Kahn
incident to facility staff," Directive 4040 § 701.3(i), they
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U.S. District Judge



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                                              Banks v. Leblanc
                           United States District Court for the Middle District of Louisiana

                                             August 27, 2019, Decided

                                       CIVIL ACTION NO. 16-649-JWD-EWD

Reporter
2019 U.S. Dist. LEXIS 155975 *; 2019 WL 4315018
                                                            Vannoy, Stephanie Lamartiniere, Dr. Randy Lavespere,
MATT BANKS (#116002) VERSUS JAMES M.
LeBLANC, ET AL.                                             and Dr. Paul M. Toce.1 The Motion is opposed. For the
                                                            following reasons, it is recommended that Defendants'
Subsequent History: Adopted by, Summary judgment            Motion be granted, and this action dismissed with
granted by, Dismissed by Banks v. Leblanc, 2019 U.S.        prejudice.
Dist. LEXIS 155513 (M.D. La., Sept. 11, 2019)

Prior History: Banks v. LeBlanc, 2018 U.S. Dist. LEXIS      I. Background
19348 (M.D. La., Jan. 12, 2018)
                                                            Pro se Plaintiff Matt Banks ("Plaintiff"), an inmate
Counsel: [*1] Matt Banks, Plaintiff, Pro se, Angola, LA.    confined at the Louisiana State Penitentiary ("LSP"),
                                                            Angola, Louisiana, originally filed this action pursuant to
For James M. LeBlanc, Secretary, In his Individual and
                                                            42 U.S.C. § 1983 against Secretary James M. LeBlanc
Official Capacity, Darrel Vannoy, Warden, In his
Individual and Official Capacity, Stephanie Lamartiniere,   ("LeBlanc"),2       Warden     Darrel    Vannoy     ("Vannoy"),3

Assistant Warden Health Service, In her Individual and      Assistant          Warden         Stephanie         Lamartiniere

Official Capacity, Defendants: LeeAnne Jenise Sharlow,      ("Lamartiniere"),4 the R.E. Barrow Treatment Center,
LEAD ATTORNEY, Louisiana Department of Justice -            and Chronic [*2] Illness Department alleging that his
Attorney General's Off, Baton Rouge, LA.                    constitutional rights had been and were being violated
                                                            through deliberate indifference to his serious medical
Judges: ERIN WILDER-DOOMES, UNITED STATES
                                                            needs related to Type II diabetes.5 Plaintiff thereafter
MAGISTRATE JUDGE.

Opinion by: ERIN WILDER-DOOMES
                                                            1 R.   Doc. 56.
Opinion                                                     2 LeBlanc    is named in his individual and official capacities as
                                                            "final policy maker." (R. Doc. 23, ¶¶ 33; 132).

                                                            3 Vannoy    is named in his official capacity. (R. Doc. 23, ¶¶ 33;
MAGISTRATE JUDGE'S REPORT AND                               133).
RECOMMENDATION
                                                            4 Lamartiniere    is named in her individual capacity. (R. Doc 23,

Before the Court is a Motion for Summary Judgment           ¶¶ 33; 134).

("Motion") filed by Defendants, James LeBlanc, Darrell      5 R.   Doc. 1.
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filed an Amended Complaint6 and a Second Amended                     Falgout,       Lamartiniere,     Lavespere,     and       Toce.14

and Consolidated Complaint,7 which supplemented and                  Accordingly, the remaining claims are Plaintiff's § 1983

clarified his factual allegations. The amendments added              claims       for   monetary    damages,       declaratory    and

the following defendants: LSP Medical Director Randy J.              injunctive relief against Lamartiniere, Lavespere, and
                                                                     Toce in their individual capacities and Plaintiff's claims
Lavespere ("Lavespere"),8 Assistant Warden Tracy
                                                                     for failure to accommodate arising under the ADA
Falgout ("Falgout"),9 and Dr. Paul M. Toce ("Toce")10
                                                                     against LeBlanc and Vannoy as representatives of the
and removed the R.E. Barrow Treatment Center and
                                                                     Department         of   Corrections    and    Louisiana     State
Chronic Illness Department.11 Plaintiff alleges that the             Penitentiary, respectively.
named prison officials were deliberately indifferent to his
medical needs in violation of the Eighth Amendment in
                                                                     II. Law & Analysis
treating          Plaintiff's   diabetes         and   associated

complications.12 Plaintiff also asserts a claim for "ADA
accommodations"             based    on    the    Americans   with   A. Standard of Review

Disabilities Act ("ADA").13 He seeks monetary damages
                                                                     Pursuant to well-established legal principles, summary
and declaratory and injunctive relief.
                                                                     judgment is appropriate where there is no genuine

Prior to the filing of the instant Motion, this Court                disputed issue as to any material fact such that the

granted in part a motion for judgment on the pleadings,              moving party is entitled to judgment as a matter of

which dismissed Plaintiff's § 1983 claims against                    law.15 A party moving for summary judgment must
LeBlanc, Vannoy, and Falgout in their individual and                 inform the court of the basis for the motion and identify
official capacities, claims for monetary damages [*3]                those portions of the pleadings, depositions, answers to
against Lamartiniere, Lavespere, and Toce in their                   interrogatories and admissions on file, together with
official capacities, and claims for accommodations                   affidavits, if any, that show there is no such genuine
under the Americans with Disabilities Act against                    issue of material fact.16 If the moving party carries its
                                                                     burden of proof under Rule 56, the opposing party
6 R.                                                                 must [*4] direct the court's attention to specific evidence
       Doc. 15.
                                                                     in the record which demonstrates that the non-moving
7 R.   Doc. 23.
                                                                     party can satisfy a reasonable jury that it is entitled to a
8 Dr.    Lavespere was named in his individual and official
capacities. (R. Doc. 23, ¶¶ 33; 129).

9 Falgout   was named in his individual and official capacities.     14 R.   Docs. 42 & 44. The Court also declined to exercise
(R. Doc. 23, ¶¶ 33; 130).
                                                                     supplemental jurisdiction over any potential state law claims.
10 Dr.   Toce was named in his individual and official capacities.
                                                                     15 Fed.   R. Civ. P. 56; Celotex Corp. v. Catrett, 477 U.S. 317,
(R. Doc. 23, ¶¶ 33; 131).
                                                                     322, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986); Anderson v.
11 R.   Doc. 23, p. 5; R. Doc. 22.
                                                                     Liberty Lobby, Inc., 477 U.S. 242, 247, 106 S. Ct. 2505, 91 L.
12 U.S.
                                                                     Ed. 2d 202 (1986).
          CONST. amend. VIII. (R. Doc. 23 ¶¶ 140-165).
13 R.   Doc. 23, ¶¶ 177-178,                                         16 Celotex   Corp., 477 U.S. at 322.
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verdict in its favor.17 This burden is not satisfied by                been denied and that the denial has constituted

some metaphysical doubt as to alleged material facts,                  "deliberate indifference to serious medical needs."22
by     unsworn        and       unsubstantiated   assertions,     by   Whether the plaintiff has received the treatment or
conclusory allegations, or by a mere scintilla of                      accommodation that he believes he should have is also

evidence.18 Rather, Rule 56 mandates that summary                      not sufficient absent exceptional circumstances.23 Nor
judgment be entered against a party who fails to make a                do negligence, neglect, unsuccessful treatment, or even
showing sufficient to establish the existence of an                    medical malpractice, give rise to a § 1983 cause of
element essential to that party's case and on which that               action.24 Rather, "subjective recklessness as used in
party will bear the burden of proof at trial.19 Summary                the criminal law" is the appropriate definition of
judgment is appropriate in any case where the evidence                 "deliberate         indifference"      under      the     Eighth
is so weak or tenuous on essential facts that the                      Amendment.25 Farmer lays out both an objective prong,
evidence could not support a judgment in favor of the
                                                                       and a subjective prong.26 The objective prong requires
non-moving        party.20   In resolving a motion for summary         plaintiffs to demonstrate that "the deprivation alleged
judgment, the court must review the facts and
                                                                       [was], objectively, 'sufficiently serious.'"27 Second, under
inferences in the light most favorable to the non-moving
                                                                       Farmer's "subjective" prong, plaintiffs must show that
party, and the court may not evaluate the credibility of
                                                                       prison officials acted with a "sufficiently culpable state of
witnesses, weigh the evidence, or resolve factual
                                                                       mind."28 The deliberate indifference standard sets a
disputes.21      However, under Fed. Rule. Civ. Proc. 56(c),
                                                                       very high bar: the plaintiff must be able to establish that
a party must cite to evidence or show that the materials
                                                                       the defendants "refused to treat him, ignored [*6] his
cited do not support the presence or absence of a
                                                                       complaints, intentionally treated him incorrectly, or
dispute.
                                                                       engaged in any similar conduct that would clearly evince


B. Plaintiff's [*5] § 1983 Claims against Lamartiniere,
                                                                       22 Estelle   v. Gamble, 429 U.S. 97, 106, 97 S. Ct. 285, 50 L. Ed.
Lavespere, and Toce
                                                                       2d 251 (1976); Johnson v. Treen, 759 F.2d 1236, 1237 (5th
In order for there to be liability in connection with a claim          Cir.1985).
of deliberate medical indifference, an inmate plaintiff
                                                                       23 Gobert     v. Caldwell, 463 F.3d 339, 346 (5th Cir. 2006)
must demonstrate that appropriate medical care has
                                                                       (citations omitted).

                                                                       24 Varnado     v. Lynaugh, 920 F.2d 320, 321 (5th Cir.1991).
17 Anderson,     477 U.S. at 248.
                                                                       25 Farmer    v. Brennan, 511 U.S. 825, 839-30, 114 S. Ct. 1970,
18 Little   v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994).   128 L. Ed. 2d 811 (1994).

19 Celotex     Corp., 477 U.S. at 323.                                 26 Id.   at 837.

20 Little,   37 F.3d at 1075.                                          27 Id.   at 834 (quoting Wilson v. Seiter, 501 U.S. 294, 298, 111
                                                                       S. Ct. 2321, 115 L. Ed. 2d 271 (1991)).
21 International    Shortstop, Inc. v. Rally's, Inc., 939 F.2d 1257,
1263 (5th Cir. 1991).                                                  28 Id.
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a wanton disregard for any serious medical needs."29                    monitoring prior to every insulin injection, which Plaintiff

Further, a mere delay in providing medical treatment                    avers [*7] is a necessary part of his treatment.34 2)
does not amount to a constitutional violation without                   Plaintiff was effectively refused insulin injections, a part
both deliberate indifference and a resulting substantial                of his known treatment regiment, for various reasons,

harm.30                                                                 including inability to administer the insulin injections to

                                                                        himself.35 As a result of his alleged inability to
Defendants         first   contend   Plaintiff     has   failed    to
                                                                        administer the injection, Plaintiff contends he "suffered
demonstrate deliberate medical indifference because he
                                                                        many times from hyperglycemia, mental confusion,
has failed to demonstrate that Defendants refused to
                                                                        various stages of coma and unconsciousness, profuse
treat him, ignored his complaints, intentionally treated
                                                                        sweating, agitation and other known objective warning
him incorrectly, or engaged in any conduct that reveals
                                                                        signs of diabetic emergency."36 Plaintiff also complains
a wanton disregard for his serious medical needs.31 To
                                                                        that he has been effectively refused insulin injections
the contrary, Defendants have provided medical records
                                                                        because, due to diabetic neuropathy, he is unable to
documenting the extensive treatment Plaintiff has
                                                                        walk to the treatment center to receive his injection.37 3)
received for his complaints. The record, as a whole, is
                                                                        Plaintiff was denied adequate and timely diabetic
replete with evidence that Plaintiff was consistently
treated.       Additionally,   throughout        the   record     are   snacks.38 4) Plaintiff was refused treatment for diabetic

innumerable instances in which Plaintiff was offered                    peripheral neuropathy and dermatological disorders

treatment but refused same.32                                           arising as a result of his diabetes.39 Based on the


Plaintiff's claims several instances of deliberate medical
                                                                        dormitory because he does not qualify for same. (R. Doc. 56-
indifference as follows:33 1) Plaintiff was denied glucose
                                                                        4, p. 3).

                                                                        34 R.   Doc. 23, ¶¶ 2; 127. Plaintiff specifically alleges that he
29 Domino      v. Texas Dep't of Crim. Justice, 239 F.3d 752, 756       has "been refused prescribed diabetes treatment in these
(5th Cir.2001), quoting Estelle v. Gamble, supra.                       ways." R. Doc. 23, ¶ 25.

                                                                        35 R.   Doc. 15, ¶ 14; R. Doc. 23, ¶¶ 52-53.
30 Mendoza      v. Lynaugh, 989 F.2d 191, 195 (5th Cir. 1993).
                                                                        36 R.   Doc. 23, ¶¶ 11-13; 22. As discussed below, there is no
31 R.   Doc. 56-1, p. 9.
                                                                        documentation in the record to support these assertions.
32 Plaintiff   makes the conclusory allegation that refusals were       37 R.   Doc. 23, ¶¶22; 26. The treatment center at LSP is
filled out to relieve workers of their obligation to provide            approximately two-thirds of a mile from Plaintiff's current
treatment. Plaintiff provides no support for this allegation. As        dormitory, which results in a roundtrip of approximately one
discussed below, Plaintiff's claims of effective denial of              and one-third miles. (R. Doc. 23, ¶ 40).
diabetic treatment that have been labeled as a refusal to
                                                                        38 R.   Doc. 23, ¶ 126.
accept care fail as a matter of law. See infra Section B.2.

33 To    the extent Plaintiff complains of not being assigned           39 Plaintiff   specifically states that he suffers from "long-term
"patient status," the record is devoid of documentation to              diabetic complications from lack of care." (R. Doc. 23, ¶ 20). In
indicate that Plaintiff should be assigned patient status.              Plaintiff's Opposition, he attaches, in support of his Opposition,
Rather, the record reflects that Plaintiff is considered a              medical records documenting neck and back pain, but in
"patient" but does not have all the privileges offered in his           Plaintiff's Complaint, he did not make complaints of neck or
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evidence presented, each of these allegations of                      of three months beginning on March 10, 2014,42 and
deliberate indifference fails for the reasons set forth
                                                                      again on October 19, 2015.43 Further, a review of
below.40                                                              Plaintiff's medication administration charts from April
                                                                      2014 through August 2016 demonstrates that Plaintiff's

1. Glucose Testing                                                    glucose was checked prior to nearly every injection.44
                                                                      Whether glucose testing is required prior to every
Plaintiff is of the opinion that his glucose should be                injection is a matter of medical discretion, and though
checked prior to every insulin        injection.41   According to     the policy of not requiring an accu-check prior to every
records        provided     by   Defendants,      Plaintiff   was     insulin injection may fall below the optimal standard of
prescribed [*8] accu-checks (glucose level checks) prior              care, it is well established that neither allegations of
to his morning and evening insulin injections for a period            malpractice nor disagreement with the level of care
                                                                      provided rise to the level of deliberate indifference that

                                                                      is actionable under § 1983.45
back pain. Accordingly, these complaints are not discussed,
as they are not before this Court. Similarly, Plaintiff raises for    The Fifth Circuit has concluded that failing to order
the first time in his Opposition that he has suffered harsh side
                                                                      glucose tests, or "fingerstick tests," prior to insulin
effects from his insulin regimen due to the type of insulin he
                                                                      injections does not, per se, amount to deliberate
has been prescribed. (R. Doc. 78, p. 3). This issue is not
properly before the Court as it is being raised for the first time
                                                                      indifference.46 In determining that the lack of glucose

in Plaintiff's Opposition, and therefore, the Court pretermits        testing did not constitute deliberate indifference, the
any further discussion on this issue. (See Fields v. Department       Fifth Circuit examined the prison's overall management
of Public Safety, Civil Action No. 11-101, 2014 U.S. Dist.            of the plaintiff's diabetes.47 Here, Plaintiff's glucose was
LEXIS 158322, 2014 WL 5801460 at n. 2 (M.D. La. Nov. 7,
                                                                      frequently checked prior to injections, and further [*9]
2014) ("[A] party may amend its pleading only with the
opposing party's written consent or the court's leave. A party
                                                                      42 R.    Doc. 56-11, p. 155.
may not amend her complaint by raising new arguments in her
brief in opposition to a motion for summary judgment; rather,         43 R.    Docs. 56-4, pp. 2-3; 56-11, p. 68.
the party must bring a motion to amend the complaint if she
                                                                      44 R.    Doc. 56-12, pp. 139-161. At most, throughout this entire
wishes to raise a new claim").
                                                                      period, Plaintiff's glucose was not checked prior to only 41
40 Because     there is no genuine issue of fact that Plaintiff has   injections of the over 500 injections Plaintiff received—a rate
failed    to   meet   his   burden   of   establishing   deliberate   of over ninety percent.
indifference, the Court need not fully examine the qualified
                                                                      45 Baughman        v. Garcia, 254 F.Supp.3d 848, 871-72 (S.D. Tex.
immunity defense.
                                                                      2017) (opining that a policy, which provided for glucose
41 R.   Doc. 78, p. 3. Plaintiff does not provide any evidence in
                                                                      checks at the prison medical official's discretion, was not a
support of his assertion that "standard care for diabetics
                                                                      sufficient basis for a claim of deliberate indifference even if
receiving daily insulin injections requires ACCUChecks
                                                                      that policy fell below the optimal standard of care for diabetes).
immediately prior to injection to prevent hypoglycemia if the
blood sugar is too low." (R. Doc. 78-1, p. 39) Plaintiff also         46 Baughman        v. Seale, 761 Fed.App'x. 371, 379-81 (5th Cir.
avers that he has been given too high a dose of insulin on at         2019).
least two occasions but fails to provide any support for this
assertion.                                                            47 Id.   at 380.
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checking       was     deemed      unnecessary      by   medical   to the level of deliberate indifference.53 Deliberate
personnel.48 Further, there is no indication in the                indifference entails more than mere negligence and
records       that    Plaintiff   has    ever    suffered   from   must be more than a medical judgment call or an
hypoglycemia as a result of being given an improper                inadvertent failure to provide medical care.54 An inmate
insulin dose.49 In instances where Plaintiff felt as though        who receives adequate medical care but disagrees with
his blood sugar was "off" he was able to request an                the mode of treatment has not established deliberate
emergency sick call and was treated, as demonstrated               indifference, as "[t]he Eighth Amendment does not

by the record.50 Plaintiff was examined on September               guarantee an inmate his choice of treatment."55 Further,
28, 2016. The records of this examination indicate that            courts       have     found     that   either    requiring     self-
Plaintiff was non-compliant with his insulin regimen. The          administration or not allowing self-administration is a
records further indicate that Plaintiff's insulin regimen          matter       of   medical     discretion   and    requiring    self-
was refined, his diet was modified as treatment for his            administration does not rise to the level of deliberate
diabetes, numerous tests were ordered, Plaintiff was               indifference.56 Here, Plaintiff disagrees with the manner
given a referral for his annual foot exam (related to his
diabetes), and a six-month follow-up appointment was

ordered.51 Plaintiff was not denied medical treatment              53 In   Plaintiff's Complaint, he notes one instance of "refusal" of

with respect to glucose monitoring and insulin injections;         medical care. (See R. Doc. 23 ¶ 100). Plaintiff alleges an EMT
                                                                   (not a Defendant) refused to accept Plaintiff's sick call on
rather, he simply disagreed on the method of treatment.
                                                                   October 16, 2015. In Opposition to the Motion for Summary
Disagreement with a treatment regimen is not sufficient
                                                                   Judgment, Plaintiff included a sick call request that was filled
to establish a claim of deliberate indifference.52                 out by him with no other notations. (See R. Doc. 78-2, p. 62).
                                                                   First, the EMT who allegedly refused to treat Plaintiff is not a
                                                                   named Defendant. Second, the record provided in support of
2. Effective Denial of Diabetic Treatment
                                                                   this assertion is insufficient to demonstrate that Plaintiff was
                                                                   refused medical care. Further, the records indicate that
With respect to Plaintiff's complaints of effective denial
                                                                   Plaintiff was treated for other complaints on the same day as
of diabetic treatment, [*10] this Court is not persuaded
                                                                   well as days surrounding the alleged refusal to treat. (See R.
that the acts and omissions to which Plaintiff points rise         Doc. 78-2, p. 63 (treatment on November 4, 2015), p. 66
                                                                   (treatment on October 16, 2015), p. 65 (treatment on October
48 R.   Doc. 56-4, p. 3 ("Accu-checks are not performed on every   19, 2015).
diabetic patient because it creates an unnecessary burden on
                                                                   54 Estelle   v. Gamble, 429 U.S. 97, 106, 97 S. Ct. 285, 50 L. Ed.
the system to do unnecessary testing. Twice daily CBGs are
only used for fine tuning insulin doses and acute medical          2d 251 (1976); Murrell v. Bennett, 615 F.2d 306, 310 n. 4 (5th

issues, but Plaintiff never got to the stage where it was a        Cir.1980).

requirement for him").
                                                                   55 Leonard    v. Daniel, 2016 U.S. Dist. LEXIS 41392, 2016 WL
49 R.   Doc. 56-4, p. 3.                                           1274448 at *7 (E.D. Tex. Feb. 24, 2016) (citing Sama v.
                                                                   Hannigan, 669 F.3d 585, 590-91 (5th Cir. 2012); Gobert v.
50 See,   e.g., R. Docs. 56-10, p. 155; 56-11, p. 55.
                                                                   Caldwell, 463 F.3d 339, 346 (5th Cir. 2006)).
51 R.   Doc. 56-11, pp. 11-13.
                                                                   56 See    Parker v. Davis, Civil Action No. 15-cv-271, 2017 U.S.
52 Baughman,     254 F.Supp.3d at 871-72.                          Dist. LEXIS 49094, 2017 WL 1227948, at *5 (M.D. Ga. Mar. 2,
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in which Plaintiff's insulin is administered, which does            it was apparent that Plaintiff could not self-inject, on at

not rise to the level of deliberate indifference.57                 least two occasions, it was ordered that he be brought

                                                                    to the ATU for his injections.62 Plaintiff was not denied
Plaintiff also avers he was not educated on how to inject
                                                                    treatment and, according to the records, his refusals to
insulin, but the record establishes otherwise.58 On April           self-inject were met with new orders for Plaintiff to
29, 2014, Plaintiff signed a "Diabetes Education                    receive his injections at the ATU. At least two options for
Verification" verifying that he was educated on [*11]               insulin injections were provided to Plaintiff: self-injection
self-injecting    insulin.59   Plaintiff argues that his mental     or injections at the ATU, yet Plaintiff effectively refused

disabilities60 prevent him from self-injecting,61 but when          both. He refused self-injections due to his alleged fear of
                                                                    needles and he refused treatment at the ATU because
2017) report and recommendation adopted, Civil Action No.           he refused to walk there.63 The evidence shows that
15-271, 2017 U.S. Dist. LEXIS 48323, 2017 WL 1217179                Defendants have attempted to cooperate with Plaintiff
(M.D. Ga. Mar. 31, 2017) (wherein the court found that a claim
                                                                    and to be responsive to Plaintiff's requests, which is well
of lack of assistance in administering insulin injections
                                                                    within the bounds of care required by the Eighth
resulting in difficulty controlling diabetes was insufficient to
                                                                    Amendment. Plaintiff's continued disagreement with the
sustain a claim for deliberate indifference). Compare Thurston
v. Pallito, Civil Action No. 13-316, 2015 U.S. Dist. LEXIS 2974,    ways in which insulin is offered to him does not
2015 WL 1097377, at *15 (D. Vt. Jan. 13, 2015), report and
recommendation adopted in part, No. 13-316, 2015 U.S. Dist.
LEXIS 29540, 2015 WL 1101157 (D. Vt. Mar. 11, 2015)
(finding a plaintiff's complaint that he was effectively denied     notes that Plaintiff has also been treated for his various mental

insulin injections because he was not allowed to self-              health issues, as is documented throughout the record.

administer, at most, disagreement regarding treatment, which        Further, though Plaintiff alleges in his Opposition that he is

did not rise to the level of deliberate indifference. Insulin was   unable to exercise individual medical decisions, (see R. Doc.

available to the plaintiff if he consented to administration by     78, p. 17), this statement is unsupported by the record.

prison staff).                                                      Nowhere is it indicated that Plaintiff has been deemed unable
                                                                    to make medical decisions.
57 Leonard    v. Daniel, 2016 U.S. Dist. LEXIS 41392, 2016 WL       61 R.   Doc. 78, pp. 4 & 11.
1274448 at *7 (E.D. Tex. Feb. 24, 2016) (citing Sama v.
                                                                    62 R.   Docs. 56-10, p. 148; 56-11, p. 151.
Hannigan, 669 F.3d 585, 590-91 (5th Cir. 2012); Gobert v.
Caldwell, 463 F.3d 339, 346 (5th Cir. 2006)). Although Plaintiff    63 As   discussed infra in Section B. 4., Plaintiff was also treated
also relies on a notation from Nurse Carroll, dated 12/6/16,
                                                                    for his complaints related to his alleged inability to walk to the
stating her belief that Plaintiff was not capable of safely self-
                                                                    ATU, although there is no evidence in the medical records to
administering insulin injections (R. Doc. 56-10, p. 150), it is
                                                                    establish that Plaintiff was not ambulatory. Plaintiff also
undisputed that Plaintiff was transferred from Camp D to the
                                                                    alleged in his Complaint that he would refuse to accept insulin
main prison that day so he would be closer to the assessment
                                                                    injections because he believed the syringes were "pre-filled"
triage unit ("ATU") where his injections would be administered
                                                                    and had been left out for a dangerous amount of time. No
by medical staff. R. Doc. 56-2, ¶¶39 & 6.
                                                                    evidence has been produced to support this assertion; rather,
58 R.   Doc. 56-11, p. 152.                                         the evidence submitted indicates that each diabetic inmate is

59 R.                                                               given the amount of insulin deemed appropriate for that
        Doc. 56-11, p. 152.
                                                                    individual. (See R. Doc. 56-3, p. 3). Inmates are not given pre-
60 Though    not specifically at issue in this action, this Court   filled syringes of insulin. (See R. Doc. 56-3, p. 3).
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constitute deliberate indifference.64                                  4. Treatment of Conditions Arising from Diabetes

                                                                       With respect to Plaintiff's claims for non-treatment of
3. Diabetic Snacks                                                     conditions       arising      from      his     diabetes,     specifically,
                                                                       diabetic neuropathy (self-diagnosed), lower extremity
Plaintiff's     complaints    regarding      untimeliness      and
                                                                       pain and [*13]         swelling, and diminished eyesight,
inadequacy of diabetic snacks fare no better under a
                                                                       Plaintiff has also failed to carry his burden of showing
deliberate indifference analysis. [*12] Due to Plaintiff's
                                                                       deliberate       indifference.         First,    regarding      Plaintiff's
condition, he was prescribed a diabetic diet including
                                                                       complaints of neuropathy and lower extremity pain and
evening diabetic snacks. The adequacy of these snacks
                                                                       swelling, the records indicate Plaintiff has been treated
is a matter or professional judgment. To the extent the
                                                                       for these complaints, simply not to his liking. Though
snacks have been untimely, there is no indication that
                                                                       Plaintiff often complained of swelling in his legs, the
this untimeliness was a result of anything more than
                                                                       medical records indicate there was no swelling.67 Yet
mere negligence. Plaintiff has not alleged that his
                                                                       despite      the    lack      of     objective        symptoms,     prison
snacks were untimely or inadequate as a result of a
                                                                       personnel          treated         Plaintiff    for     his    subjective
conscious or callous indifference to Plaintiff's medical
                                                                       complaints.68 On May 9, 2015, Plaintiff complained of
needs.65 Further, Plaintiff has failed to put forth
                                                                       pain and swelling in his left knee and was treated and
evidence that Defendants acted with a sufficiently
                                                                       prescribed 400 mg ibuprofen.69 On May 14, 2015,
culpable state of mind regarding the adequacy of
Plaintiff's snacks, and regarding the timing of snacks.                Plaintiff complained of spasms from his knees to his

Mere delay is insufficient to state a claim for deliberate             feet, foot pain, and leg swelling.70 As a result of these

indifference       without   resulting    substantial     harm.66      complaints, Plaintiff was prescribed Pyridoxine for one

Nowhere in the records is there any evidence of                        month.71 On September 28, 2016, Plaintiff was referred
substantial harm as a result of untimely or inadequate                 to the podiatry clinic for his annual foot exam, which he
diabetic snacks. Accordingly, Plaintiff has also failed to             received as a matter of course due to his diabetes.72 On
carry his burden on this claim.                                        June 1, 2017, Plaintiff complained of dry skin and was




                                                                       67 R.   Doc. 78-3, pp. 1-7. Swelling in Plaintiff's knees was noted
64 See   Leonard v. Daniel, 2016 U.S. Dist. LEXIS 41392, 2016
                                                                       on a few occasions and was treated. Further, though Plaintiff
WL 1274448 at *7 (E.D. Tex. Feb. 24, 2016) (citing Sama v.
                                                                       avers he cannot walk, throughout the medical records, it is
Hannigan, 669 F.3d 585, 590-91 (5th Cir. 2012); Gobert v.
                                                                       indicated that Plaintiff is generally able to walk without difficulty
Caldwell, 463 F.3d 339, 346 (5th Cir. 2006)).
                                                                       (i.e., is ambulatory). (See e.g., R. Docs. 78-3, pp. 2-4 & 10.
65 See   Perryman v. Philbin, No. 7:12-CV-155 HL, 2013 U.S.            68 R.   Doc. 78-3, pp. 1-7.
Dist. LEXIS 115267, 2013 WL 4434227, at *2-3 (M.D. Ga.
                                                                       69 R.   Doc. 56-11, p. 88.
Aug. 15, 2013) (holding that a plaintiff failed to state a claim for
deliberate indifference when he alleged that he was not given          70 R.   Doc. 56-11, p. 87.
his "accu-check and insulin" at the correct times).                    71 R.   Doc. 56-11, p. 87.

66 Farmer,    511 U.S. at 839-30; Mendoza, 989 F.2d at 195.            72 R.   Doc. 78-3, p. 97.
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prescribed Clotrimazole for same.73 On August 25,                appointment.83 Plaintiff was prescribed a straight cane
2017, Plaintiff again complained of bilateral neuropathic        along with other medications84 to treat his various
foot pain.74 He had been prescribed Elavil [*14] for this        complaints and [*15] was referred to the podiatry clinic
pain at his last doctor's visit but had not taken the            due to his continuing complaints of leg and foot pain.85
medications.75 Plaintiff requested that his Elavil be            Plaintiff's restraints were also modified.86 The records
given to him during his afternoon pill call, and the doctor      demonstrate that Plaintiff has been treated for his
was amicable and changed the timing of Plaintiff's Elavil        subjective complaints of lower extremity pain.
prescription to be given at Plaintiff's afternoon pill call.76
                                                                 With respect to Plaintiff's alleged diminished eyesight,
Further, Plaintiff was moved to a cell closer to the ATU,
                                                                 he has been provided with annual examinations and has
so Plaintiff would have a shorter distance to walk for his
                                                                 been prescribed three pairs of eyeglasses to improve
medications and insulin injections.77 Plaintiff was also
                                                                 his vision.87 Plaintiff has also apparently been fixated on
prescribed special orthopedic shoes to treat his
                                                                 needing lotion, but based upon the records, Plaintiff's
complaints relative to his alleged difficulty walking.78
                                                                 requests for lotion have been fulfilled.

In support of Plaintiff's argument that he was not treated
                                                                 In addition to the foregoing, Plaintiff's claims are
for his "nerve pain,"79 he cites to a request for medical        questionable overall because, as the Fifth Circuit has
care that occurred on January 12,     2017.80   On this date,    stated that "[d]eliberate indifference is especially hard to

Plaintiff complained of "diabetes nerve pain."81 Plaintiff       show when the inmate was provided with ongoing

was examined. No discoloration, swelling, or deformities         medical treatment."88 Here, more than 500 pages of
were noted. Plaintiff was referred to a doctor for further       medical records from only a few years demonstrate
evaluation, and he was thereafter prescribed new                 Plaintiff's ongoing medical treatment for the variety of

medications for his complaints.82 Shortly thereafter, on
February 2, 2017, Plaintiff was treated at a follow-up
                                                                 83 R.   Doc. 78-2, p. 110.

                                                                 84 A    review of Plaintiff's medication list near the time the
                                                                 Complaint was filed shows that Plaintiff's various conditions
73 R.   Doc. 56-10, p. 119.                                      were being treated with the following medications: Artificial
74 R.   Doc. 56-11, p. 156.                                      Tears, Gemfibrozil (for high cholesterol), Insulin (for diabetes),
                                                                 Losartan (for high blood pressure), Metformin (for diabetes),
75 R.   Doc. 56-11, p. 156.
                                                                 Simvastatin (for high cholesterol), Acetaminophen (for pain),
76 R.   Doc. 56-11, p. 156.                                      Loratadine (for allergies), docusate calcium (laxative). (R. Doc.
77 R.   Doc. 56-10, p. 148.                                      78-3, p. 95). Plaintiff had also previously been prescribed
                                                                 Naproxen for pain. (R. Doc. 78-3, p. 104).
78 R.   Doc. 56-10, p. 117.
                                                                 85 R.   Doc. 78-2, pp. 106-110.
79 R.   Doc. 78, p. 3.
                                                                 86 R.   Doc. 56-13, p. 123.
80 R.   Doc. 78-2, p. 105.

81 R.
                                                                 87 R.   Doc. 56-4, pp. 3-4. See also, R. Doc. 78-4, pp. 72-77.
        Doc. 78-2, p. 105.

82 R.   Doc. 78-2, p. 105.                                       88 Fails   v. DeShields, 349 Fed.App'x. 973, 976 (5th Cir. 2009).
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conditions about which he complains. Plaintiff has failed            Regarding ADA accommodations, prisoners may bring
to demonstrate that any of the Defendants have refused               claims against their jailors for disability discrimination
to treat him, ignored his complaints, intentionally treated          under Title II of the ADA, which prohibits discrimination
him incorrectly or engaged in any similar conduct that               by public entities.91 Title II of the ADA provides "no
would evince a wanton disregard [*16] for any serious                qualified individual with a disability shall, by reason of
medical    need.89   To the contrary, Plaintiff's medical            such disability, be excluded from participation in or be
records demonstrate that, not only is Plaintiff being                denied the benefits of the services, programs, or
treated,      but    prison      personnel       have       been     activities of a public entity, or be subjected to

accommodating to Plaintiff's numerous requests.90                    discrimination by any such entity."92 A plaintiff must first
                                                                     establish a prima facie case of discrimination before
                                                                     relief under the ADA can be considered. To establish a
C. Plaintiff's ADA Claims against LeBlanc and Vannoy
                                                                     prima facie case of discrimination under the ADA, a
                                                                     plaintiff must demonstrate: (1) that he has a qualifying
                                                                     disability; (2) that he is being excluded from participation
89 The   medical records in this matter show consistent              in, or being denied benefits of, services, programs, or
treatment. The only thing in the record, which contests              activities for which the public entity is responsible, or is
treatment, is Plaintiff's Complaint. This Court could consider       otherwise being discriminated against by [*17]              the
Plaintiff's Second Amended and Consolidated Complaint as             public entity; and, (3) that such exclusion, denial of
competent summary judgment evidence, (see King v. Dogan,
                                                                     benefits, or discrimination is because of his disability.93
31 F.3d 344, 346 (5th Cir.1994) (verified complaints may
                                                                     A plaintiff asserting a private cause of action for
potentially be considered as competent summary judgment
evidence to the extent the complaint comports with the               violations      under     the    ADA     may     only   recover

affidavit requirements of Rule 56). Rule 56, in turn, requires       compensatory damages upon a showing of intentional
that affidavits "must be made on personal knowledge, set out         discrimination.94 Punitive damages are unavailable.95
facts that would be admissible in evidence," and make the
allegations under penalty of perjury. Fed. Rule Civ. P. 56(c)(4);
King, 31 F.3d at 346), but even considering the Complaint as         91 Pennsylvania    Dep't of Corrections v. Yeskey, 524 U.S. 206,
competent summary judgment evidence, Plaintiff fails to
                                                                     209-10, 118 S. Ct. 1952, 141 L. Ed. 2d 215, (1998). As noted
defeat summary judgment. The Fifth Circuit has "repeatedly
                                                                     in this Court's previous report and recommendation, the Court
held that self-serving affidavits, without more, will not defeat a
                                                                     has construed the claims against LeBlanc and Vannoy as
motion summary judgment." Tyler v. Cedar Hill Indep. Sch.
                                                                     claims against the entities the represent, the Department of
Dist., 426 Fed. Appx. 306, 309 (5th Cir. 2011). Plaintiff's self-
                                                                     Public Corrections and LSP, respectively. (R. Doc. 42).
serving statements in his Complaint are not the type of
probative evidence required to defeat summary judgment. See          92 42   U.S.C. § 12132.
U.S. v. Lawrence, 276 F.3d 193 (5th Cir. 2001). Accordingly,
                                                                     93 Hale   v. King, 642 F.3d 492, 499 (5th Cir. 2011).
when faced with the medical records, which document
consistent treatment, Plaintiff's self-serving Complaint is not
                                                                     94 Delano—Pyle     v. Victoria, County, TX, 302 F.3d 567, 575
enough to defeat summary judgment.
                                                                     (5th Cir. 2002).
90 Because   summary judgment should be granted on the
merits, whether Plaintiff's claims are prescribed is not             95 Barnes   v. Gorman, 536 U.S. 181, 189-90, 122 S. Ct. 2097,
addressed.                                                           153 L. Ed. 2d 230, (2002).
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First, to demonstrate a qualifying disability, a plaintiff            summary judgment evidence that he actually suffers
must show he has "a physical or mental impairment that                from any impairment that substantially limits either of
substantially limits one of more of the major life activities         these       major     life   activities.   As   Plaintiff   fails   to

of such individual."96 Major life activities are defined in           demonstrate the first requirement of the statute, i.e., that

two ways. First, major life activities include, but are not           he has a qualifying disability, the Court need not

limited to "seeing . . . walking, standing, lifting, bending .        analyze his ADA claim further.

. . and working."97 Second, a major life activity includes            Even assuming, however, that Plaintiff has a qualifying
"the operation of a major bodily function," which                     disability, Plaintiff cannot show that he has been denied
includes, but is not limited to "the immune system,                   benefits or that he was discriminated against. A
normal       cell     growth,    digestive,   bowel,     bladder,
                                                                      comparative case is Nottingham v. Richardson.100 In
neurological, brain, respiratory, circulatory, endocrine,
                                                                      Nottingham, the plaintiff claimed a limited ability to
and reproductive functions."98 The physical impairment
                                                                      walk.101 Nottingham alleged that he was left on the floor
Plaintiff has alleged is diabetic neuropathy, swelling of
                                                                      of a transport van and not given the opportunity to use
the lower extremities, pain, headaches, and diminution
                                                                      the restroom.102 The Fifth Circuit held that "simply
of   eyesight.99      Though walking and seeing are clearly
                                                                      failing to attend to the medical needs" of disabled
included in the statute's definition of a major [*18] life
                                                                      prisoners does not violate the ADA and that leaving
activity, Plaintiff has failed to put forth any competent
                                                                      Nottingham on the floor of the van did not have any

                                                                      connection to his disability.103 Here, Plaintiff complains
                                                                      that his leg pain has not been sufficiently treated and
96 Nottingham       v. Richardson, 499 Fed. App'x. 368, 376 (5th
                                                                      that this has resulted in discrimination because he
Cir. 2012); 42 U.S.C. § 12102(1)(A). In the alternative, a
                                                                      cannot walk to receive the various services and
plaintiff may show a record of a mental or physical impairment
                                                                      activities offered at LSP. These claims [*19] are merely
or that he has been regarded as having such an impairment.
                                                                      deliberate indifference claims cast in a different light.104
97 42   U.S.C. § 12102(2)(A).

98 42   U.S.C. § 12102(2)(B).                                         100 499    Fed.App'x. at 377.

99 R.   Doc. 23, ¶¶ 22 & 42. Plaintiff appears to argue in his        101 Id.   at 377.
Opposition that his various mental impairments should also be
                                                                      102 Id.
considered qualifying disabilities. However, Plaintiff failed to
raise this in his Complaint, and he has not shown that any of
                                                                      103 Id.   quoting Bryant v. Madigan, 84 F.3d 246, 249 (7th Cir.
his diagnoses of mental illnesses impair any of his major life
                                                                      1996).
activities. In the Opposition Plaintiff argues that he is unable to
make medical decisions, but the record demonstrates the               104 Throughout      the section of Plaintiff's Opposition regarding
opposite: Plaintiff is consistently able to request medical care      ADA accommodations, he reiterates his complaints regarding
when necessary. Accordingly, because Plaintiff failed to              deliberate indifference framing each complaint as if the alleged
properly raise this claim before the Court (see Fields, supra at      denial of assistance in obtaining insulin, lack of diabetic
n. 41) and due to the lack of evidence supporting same, this          snacks, etc. also constitute a violation of the ADA. Because
Court pretermits any further discussion regarding any potential       failing to attend to medical needs does not violate the ADA,
disability associated with Plaintiff's various mental illnesses.      these claims are without merit.
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Plaintiff's core complaint is that his leg pains associated        fact as to whether Defendants Lamartiniere, Lavespere
with diabetes have not been properly treated, which                and Toce refused to treat Plaintiff, ignored his
renders him unable to walk. Further, it appears as                 complaints, intentionally treated him incorrectly or
though        prison      personnel     have    attempted     to   engaged in any similar conduct that would evince a
accommodate            Plaintiff's   requests   for   additional   wanton disregard for any serious medical need. In his
assistance to ensure he received required care. As                 claims against Defendants LeBlanc and Vannoy,
noted above, Plaintiff has been given the option to self-          Plaintiff has not presented sufficient evidence of a
inject insulin or go to the ATU to receive his insulin             qualifying disability, such that any of his claims would
injections. Plaintiff was moved closer to the ATU so he            properly be considered under the ADA. Rather,
would not have to walk as far for treatment. As a result           Plaintiff's complaints regarding his inability to walk and
of Plaintiff's complaints regarding lower extremity pain,          diminished eyesight are simply claims of deliberate
Plaintiff has been provided with numerous forms of                 indifference painted in a different light. Moreover, other

assistance, including a walking cane,105 orthopedic                than Plaintiff's self-serving and unsupported statements,
                                                                   the record shows Defendants have attempted to
shoes,106 and modified restraints.107 Plaintiff is also
                                                                   accommodate whatever limitations Plaintiff may have.
given numerous medications for treating his ailments;
                                                                   Accordingly, [*21] Plaintiff has not, as a matter of law,
for example, Plaintiff has been prescribed lotion, pain
                                                                   stated a claim under the ADA. As there are no genuine
medications, and medications to manage his diabetes,
                                                                   issues of material fact, Defendants Motion should be
as well as supplements to help him live a healthier life,
                                                                   granted as a matter of law, and this action should be
such as Omega 3 capsules.108 Prison personnel have
                                                                   dismissed with prejudice.
been responsive to Plaintiff's requests for assistance,
and Plaintiff's grievance amounts to a complaint
regarding the amount [*20] of assistance he has been               RECOMMENDATION
given. There is simply no evidence of any action that
                                                                   IT IS RECOMMENDED that Defendants' Motion for
rises to the level of an ADA violation on the record
                                                                   Summary Judgment be GRANTED and that this action
before the Court.
                                                                   be DISMISSED WITH PREJUDICE.


III. Conclusion
                                                                   ORDER
The evidence presented demonstrates that Defendants
                                                                   Considering         the   above   recommendation,   IT   IS
have consistently treated Plaintiff for his various
                                                                   ORDERED that Plaintiff's pending Motion Requesting
complaints. Plaintiff has failed to direct the Court to
                                                                   Appointment of Counsel109 be and is hereby DENIED.
sufficient evidence to create a genuine issue of material

                                                                   Signed in Baton Rouge, Louisiana, on August 27, 2019.

105 R.   Doc. 56-13, p. 3.                                         /s/ Erin Wilder-Doomes

106 R.   Doc. 56-10, p. 117.                                       ERIN WILDER-DOOMES
107 R.   Doc. 56-13, p. 123.

108 R.   Docs. 56-13, pp. 10-12.                                   109 R.   Doc. 47.
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UNITED STATES MAGISTRATE JUDGE



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